CaS€Z 1216-CV-OOJ.6®M&¢Q|£C1NALQ€: 1 Of 74 PAGE|D #: 704

IN THE COURT OF COM]\/ION PLEAS
HAMILTON COUN'I'Y, OHIO

CIVIL DIVISION

JORDAN VANCE : CaseNo. A ‘ F~_ (] 6 5 7 5
715 Little Harts Creek Rd. :
Hart§, West Virginia 25524 : Judge:

Plainu'ff, COMPLAINT & JURY
v. ' ' DEMAND '
ABUBAKAR ATIQ DURRANI, M.D., §
(Serve via Hauge Convention) 1

 

 

 

 

 

 

And 01128000
CENTER FOR ADVANCED sPINE "

TECHNOLOGIES, INC. (ALL NEW DR. DURRANI

(Ser_ve Via Haug& Convention) CASES SHALL GO TO JUDGE
RUEHLMAN PER HlS ORDER)
And
WEST CHESTER HOSPITAL, LLC
'/`?OO University Drive
West Chester, OH 45069
Serve: GH&R Business Svcs., INC.
51 1 Walnur Sm:et " z
1900 Fii°ch Thjrd Center : §§ §§
Cincinnati, OH 45202 REGULAR MAlL WAIVER § -r` ' c;
(Serve via Certified mail) : §)`:J _ §§ ` "n
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And z §§ U m
Uc HEALTH §C»Ti. r_\,) 5
Serve: GH& R BUSINESS SVCS., INC. 33 -~
511 WALNUT STREET : "'
1900 FLFTH THrRD cENTER RF-"“"»;*R MA“' w*"‘m `
CINCINNATI, OI-l 45202
(Serve Via Certified Mail)
And

C[NCINNATI CHILDREN’S
MEDICAL CENTER

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 2 Of 74 PAGE|D #Z 705

333 Chemed Center
255 E. Fif’th Street
Cincinnati, 0th 45202

Serve: Frank C Woodside, ill

1900 Chemed Center

255 E. Fi&h Street 2

Cincinnati, Ohio 45202 RE(;ULAR MAILWAIVER
(Serve via Certii"ied Mail) :

Defendants.

 

Cornes now Plaintiff, Jordan Vance, and files this Complaint and jury demand, pursuant
to the agreement of the parties and Order of the Court, and states as follows:

1. At all times relevant, Plaintiffwas a resident of and domiciled in the State of West
Virginia.
2. At all times relevant, Defendant Dr. Abubakar Atiq Durrani (hereinaiter “Dr. Durrani”)
was licensed to and did in fact practice medicine in the State of Ohio.
3. At all times relevant1 Center for Advanced Spine Technologies, Inc. (hereinafter
“CAST"), was licensed to and did in fact perform medical services in the State of Ohio, and
was and is a corporation authorized to transact business in the State of Ohio and Kentucky.
4. At all times relevant, West Chester Hospital, LLC (hereinafter “West Chester Hospital”),
was a limited liability company authorized to transact business and perform medical services
in the State of Ohio and operate under the trade name West Chester Hospital.
5. At all times relevant, Defendant UC I-Iealth lnc., was a duly licensed corporation which
owned, operated and/or managed multiple hospitals including, but not limited to West Chester
Hospital, and which shared certain services, profits, and liabilities of hospitals including West

Chester.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 3 Of 74 PAGE|D #Z 706

6. At all times relevant herein, West Chester Medical Center, Inc., aka West Chester Hospital
held itself out to the public, and specifically to Plaintiffs, as a hospital providing competent
and qualified medical and nursing services, care and treatment by and through its physicians,
physicians in training, residents, nurses, agents, ostensible agents, servants and/or employees
7. UC Health is the corporate parent, owner and operator of West Chester Hospital, LLC.
8. UC Health Stored BMP-Z at UC Health Business Center warehouse located in Hamilton
County.
9. UC Health is the corporate parent, owner and operator of West Chester Hospital, LLC.
UC Health is located in Hann`lton County making Harnilton County appropriate to bring this
lawsuit
10. At all times relevant, Cincinnat_i Children’s Hospital Medical Center “CCHMC” or
“Children’s Hospital" was a corporation authorized to transact business and perform medical
services in the State of Ohio.
ll. The amount in controversy exceeds the jurisdictional threshold of this Court.
]2. 'l`he subject matter of the Cornplaint arises out of medical treatment by Defendants in
Hamilton County, Ohio.
13. This Court is thus the proper venue to grant Plaintift` the relief sought
14. This case was previously set for trial and Plaintiff’s 41 (A) Vo]untalily Dismissed this case
and are now re-Hling this case.
FACTUAL ALLEGATIONS OF PLAINTIFF
15. Plaintift` incorporates by reference each and every allegation in the paragraphs above.
16. Plaintifi` and her parents sought treatment with Dr. Durrani in Noveniber 2006 when

CCHMC Doctor recommended Dr. DUrrani

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 4 Of 74 PAGE|D #Z 707

17. Plaintiff sought treatment for scoliosis and a curvature in her back from scoliosis. Plaintiff
was 12 years of age at the time and had no pain.

lS. At the initial office visit, Dr. Durrani recommended spine surgery on Plaintist back to slow
down the curve.

l9. Speciiically, Dr. Durrani recommended implanting “growing rods_”

20. On November 6, 2006, Dr. Durrani performed spinal fusion with instrumentation surgery
on Plaintiff at Children’s Hospital.

21. Plaintifi" followed up with Dr. Durrani following surgery. She began to feel a numbness
in her left hand following surgery. She also could not turn her neck from side to side and was
experiencing pain and discomfort Pn`or to surgery, Plaintiff never experienced any pain.

22. Upon information and belief, Dr. Durrani used lnfuse/BMP-2 or Puregen “off-label”
without Plaintifi’s knowledge or consent, causing harm.

23. The use of BMP-Z increases a person’s chance of cancer by 3.5%

24. Due to the unnecessary surgeries Dr. Durrani performed, Plaintiff has a 3.5% increased
chance of cancer because of the use of BMP-Z.

25. As a direct and proximate result of the use and implementation of lnque/BMP-2 Plaintiff
has incurred a 3.5% increase in the risk of Cancer. As a result Plaintiff has an increased fear of
Cancer.

26. Following the first Surgery, Plaintiff experienced pain and informed Dr. Durrani.

27. Dr. Durrani recommended another surgery to lengthen the rods he had put in her back.

28. On June l, 2007 Dr. Durrani performed surgery on Plaintiff at Children’s Hospital.

29. Plaintiff experienced extreme pain following this surgery and had difficulty walking

30. Plaintiff continued to follow up with Dr. Durrani and inform him of her pain.

CaSe: 1216-CV-'OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 5 Of 74 PAGE|D #Z 708

31. Dr. Durrani recommended a third surgery

32. On April 14, 2008, Dr. Durrani performed a third surgery on Plaintiff at Children’s
Hospital. During this surgery, Dr. Durrani again adjusted the rods.

33. Following the surgery, Plaintiff experienced more pain and increased numbness and
tingling in her left hand and ann. She also began experiencing more hip and back pain.

34. On November 19, 2008 Dr. Durrani performed a fourth surgery on Plaintiff at Children’s
Hospital. This was a posterior spinal fusion, from the cervical spine to the lumbar spine, with
removal of growing rods.

35_ Plaintiff continued to follow up with Dr. Durrani and inform him of her constant
discomfort

36. Afrer this surgery, Plaintiff continued to complain of pain and informed Dr. Durrani.

37. Dr. Durrani again recommended surgery for the fifth time.

38. On October 14, 2011 Dr. Durrani performed a costoplasty surgery on Plaintiff at West
Chester Hospital He removed 4 ribs and part of another from Plaintiii`.

39. Dr. Durrani told Plaintiff that the, October 14, 2011, surgery was to fix a “rib hump,” that
had formed from surgery with Dr. Duurani; however, the “rib hump” remains unchanged

40. Immediately following this surgery Plaintiff had intense pain in her back, legs, hips, and
neck.

41. Plaintiff continues to suffer from pain and discomfort due to the surgeries. She missed
school due to these surgeries and had to attend two years of school on-line.

42. Plaintiff’s quality of life has completely diminished

43. Plaintiff now after treating with Dr. Durrani, experiences uncontrolled pain in her neck,

arms, legs, and back.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 6 Of 74 PAGE|D #Z 709

44. Plaintiff can only tolerate a few minutes of standing, or walking at a time.
45. Plaintiff is unable to bathe herself, wash or dry her hair because her arms hurt when she
holds her hands above her head
46. Plaintiff is unable to drive, due to the fact that she cannot turn her head.
47. Upon information and helief, Dr. Durrani used lniiise/BMP-Z or Puregen “off~label”
without Plaintiff`s knowledge or consent, causing harrn.
48. The use of BMP-Z increases a person’s chance of cancer by 3.5%
49. Due-to the unnecessary surgeries Dr. Durrani performed, Plaintiff has a 3.5% increased
chance of cancer because of the use of BMP-Z.
50. As a direct and proximate result of the use and implementation of lnfuse/BMP-?. Plaintiff
has incurred a 3.5% increase in the risk of Cancer. As a result Plaintiff has an increased fear of
Cancer.
51. Upon information and belief, the surgeries performed upon Plaintiff were medically
unnecessary
52. As a direct and proximate result of the surgeries and Dr. Durrani’s negligence, the Plaintiff
has suffered harm.
53. Plaintiff did not become aware of Dr. Durrani’s use of lnfusefBMP-Z until legal counsel
reviewed Plaintiff's records.

MORE SPECIFIC ALLEGATIONS BASED UPON DISCOVERY AND DEPOSITION

TESTIMONY

54. This information is to demonstrate the overall negligence and inappropriate actions of Dr.

Durrani and the hospitals he worked with and/or for and/or in an individual capacity.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 7 Of 74 PAGE|D #Z 710

55. Krissy Probst Was Dr. Durrani’s professional and personal assistant handling
profeSSiOIlal, academic, travel, surgery scheduling, his joumals, his Boards, his credentialing, his
personal affairs and his bills.

56. 7 Krissy Probst worked as Dr. Durrani’s assistant for three years at Children’s Hospital
from 2006, 2007, and 2003.

57. Krissy Probst reported Dr. Durrani to Sandy Singleton, the Business Director at
Children’S for his having an affair with Jamie Moor, his physician assistant

58. Krissy Probst resigned in 2008 from Dr. Durrani and remained Working for three other
surgeons in the Orthopedic Department.

59. Krissy Probst worked in the Orthopedic Department for eleven years from 2002-2013.
She retired in May, 2013.

60. Krissy Probst confirmed Dr. Durrani claims being a Prince, when he is not.

61. According to Krissy Probst, Dr. Crawford, an icon in pediatric orthopedics treated Dr.
Durrani “like a son.”

62. According to Krissy Probst, Dr. Crawford, Chief of Orthopedics at Children’s
unconditionally Supported Dr. Durrani no matter the issues and problems Dr. Durrani faced.
63. Dr. Durrani’s patient care at Children’s Hospital dropped off considerably after Jamie
Moor became his physician assistant and they began their affair.

64. Dr. Durrani was the only orthopedic spine surgeon at Children’s who would perform a
dangerous high volume of surgeries. n

65. At Children’s, Dr. Durrani would begin a surgery, leave and have fellows and residents
complete a surgery or do the full surgery while he was in his office with Jamie Moor, his

physician assistant for four or live hours.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 8 Of 74 PAGE|D #Z 711

66_ Children’s Board and administration knew about Dr. Durrani doing too many surgeries
and not properly doing the surgeries. They did nothing

67. Dr. Durrani argued to Children’s administration when they complained to him that he
made them money so Children’s tolerated him and allowed him to do what he wanted.

68. Dr. Durrani, when told by Children’s that lamie Moor had to leave, told Children’s that
he would leave too.

69. Dr. Agabagi would do one spine patient a day at Children’s because it takes normally
eight hours for a iiill fusion.

70. Dr. Durrani would schedule two to three spine surgeries a day at Children’s.

7l. Dr. Durrani would repeatedly have the Business Director, Sandy Singleton, or OR
Director allow him to add surgeries claiming they were emergencies when they were not.

72. Dr. Durrani would leave a spine surgery patient for four or Hve hours in the surgery suite
under the care of fellows or residents, unsupervised and sit in his office and check on the surgery
as he pleased.

73. Dr. Peter Stem did not like Dr. Durrani while Dr. Durrani was at Children’s because he
knew all about his patient safety risk issues. Yet, Dr. Stern supported, aided and abetted Dr.
Durrani’s arrival at West Chester. It defies comprehension, but was for one of the world’s oldest
motives-greed of money.

74. There is also a Dr. Peter Sturm, an orthopedic at Children’s who also had no use for Dr.
Durrani.

75. Dr. Durrani chose his own codes for Children’s billing which he manipulated with the

full knowledge of Children’s Board and management

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 9 Of 74 PAGE|D #Z 712

76. Dr. Durrani was dating and living with Beth Garrett, a nursing school drop-out, with the
full knowledge of his wife Shazia.

77. Dr. Durrani was close with David Rattigan until David Rattigan pursued Jamie Moor and
Dr. Durrani would not allow David Rattigan in the OR at Children’s for a long time.

78. Dr. Durrani, while claiming to have riches, does not. Dr. Durrani’s wife’s family paid for
Dr. Durrani’s education and it is her family with the significant wealth.

79. Medtronics paid for Dr. Durrani’s trips and paid him $10,000 fees for speaking or simply
showing up at a spine conference v

80. Krissy Probst’s business director told her to save all Dr. Durrani related documents and
information and she did.

81. While doing research at Children’s, Dr. Durrani would misstate facts regarding his
research. Children’s knew he did this.

82. Dr. Durrani ended on such bad terms with Children’s Hospital he was not allowed on the
premises alter his departure in December 2008, yet he performed a spine surgery there in
February 2009.

83. Eric J. Wall, MD was the Director of Surgical Services Division of Pediatric Orthopedic
Surgery when Dr. Durrani left Children’s.

84. Sandy Singleton, MBA was the Senior Business Director of Surgical Services Division of
Pediatric Orthopedic Surgery when Dr. Durrani left Children’s.

85. On information and belief, Dr. Durrani used his relationships with Children’s officials to
purge his Children’s file of all patient safety and legal issues which had occurred as part of his

departure “deal” which Defendants hide with privilege

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 10 Of 74 PAGE|D #Z 713

INFUSE/BMP-Z
I. BACKGROUND INFORMATION
86. The Deters Law Firm, P.S.C., represents approximately 500 Plaintift`s in medical
malpractice actions against a former Northern Kentucky/Cincinnati-area spine surgeon named
Abubakar Atiq Dr. Durrani (Dr. Durrani), his company, Center for Advanced Spin'e
Technologies, Inc. (CAST), and several area hospitals including, but not limited to, West Chester
Hospital (WCH), University of Cincinnati l-Iealth (UC Health), Cincinnati Children’s Hospital
Medical Center (CCHMC), Christ Hospital, Deaconess Hospital, Good Samaritan Hospital and
Joumey Lite of Cincinnati, LLC (Journey Lite) (collectively Hospitals).
87. Dr. Durrani performed unnecessary, iirauch.ilent1 dangerous, and ultimately damaging
surgeries on these Plaintiffs while Working for and with these Hospitals.
88. The scheme and artifice to defraud that Dr. Durrani devised, executed, and attempted to
execute while working for and with the Hospitals included the following patterns and practices:

a. Dr. Durrani persuaded the patient that surgery was the only option, when in fact
the patient did not need surgery

b. Dr. Durrani told the patient that the medical situation was urgent and required
immediate surgery. He also falsely told the patient that he/she was at risk of grave injuries
without the surgery.

c. Dr. Durrani often told his cervical spine patients that they risked paralysis or that
his/her head would fall`off` if he/she was involved in a car accident, ostensibly because
there was almost nothing attaching the head to the patient’s body.

d. Dr. Durrani often ordered imaging studies such as x-rays, CT scans, or l\/[R_Is for

patients but either did not read or ignored the resulting radiology reports.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 11 Of 74 PAGE|D #Z 714

e. Dr. Durrani often provided his own exaggerated and dire reading of the patient’s
imaging study that was either inconsistent with or was plainly contradicted by the
radiologist’s report. At times, Dr. Durrani provided a false reading of the imaging.

f. Dr. Durrani often dictated that he had performed certain physical examinations and
procedures on patients that he did not actually perform.

g. _ Dr. Durrani often ordered a pain injection for a level of the spine that was
inconsistent with the pain stated by the patient or with that indicated by the imaging. Dr.
Durrani also scheduled patients for surgeries without learning of or waiting for the results
of certain pain injections or related therapies.

h. Dr. Durrani often dictated his operative reports or other patient records months
after the actual treatment had occurred

i. Dr. Durrani’s operative reports and treatment records contained false statements
about the patient’s diagnosis, the procedure performed, and the instrumentation used in the
procedure

j. When a patient experienced complications resulting horn the surgery, Dr. Durrani
at times failed to inform the patient of, or misrepresented the nature of, the complications
k. All of the above-mentioned actions were done with the knowledge, cooperation,
or intentional ignorance of the Hospitals because Dr. Durrani was one of the biggest
moneyrnakers for the Hospitals.

89. ln addition to the civil medical malpractice actions against Dr. Durrani, on August 7,
2013, he was indicted by the Federal Govemment for performing unnecessary surgeries and for
defrauding the Medicare and Medicaid programs Specitically, the ten-count complaint charged
Dr. Durrani with health care fraud, in violation of 18 U.S.C. § 1347, and making false statements
in health care matters, in violation of 18 U.S.C. § 1035. There was a subsequent superseding

indictment adding over 30 counts

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 12 Of 74 PAGE|D #Z 715

90. Following these criminal indictments, in December of 2013 and prior to the first
Plaintiff’s trial in these actions, Dr. Durrani fled the United States and returned to Pakistan. He
has not returned to the United States to face allegations of either criminal or civil liability

91. Among Dr. Durrani’s and the Hospitals’ professional failings was the use of a synthetic
bone-morphogenetic protein called BMP-Z, which was marketed under the trade name “Int`use.”
Dr. Durrani used BMP-Z/lnfuse in ways that were either not approved by the federal Food and
Drug Adrninistration (FDA) or that were specifically contraindicated as noted on the FDA-
approved product labeling The Defendants had full knowledge of this fact.

92. BMP~.'Z/Infuse was, at the time of the surgeries in question, and currently still is
manufactured by a company called Medtronic, Inc. (Medtronic).

93. Dr. Durrani predominantly used BMP-Z/lniiise on patients at WCH, which is owned by
UC Health.

94. lt is Plaintiffs’ position that this non-FDA-approved use of BMP-Q/lnfuse was not only
negligent, and fraudulent, but criminal based upon the manner in which it was allowed to be used
by Dr. Durrani at West Chester, all with the knowledge and full support of the Defendants.

H. THE PLAYERS REGARDING BMP-2

95. Dr. Durrani is a citizen of the Republic of Pakistan and was a permanent resident of the
United States who, from approximately 2005 to 2013, worked as a spine surgeon in and around
Cincinnati, Ohio, until he fled the United States to escape civil liability and criminal prosecution
96. Medtronic is an hish corporation, with its principal executive office located in Dublin,
Ireland, and its operational headquarters located in Minneapolis, Minnesota. Medtronic is the

world’s third largest medical device company and manufactures and markets BMP-Z/Infuse.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 13 Of 74 PAGE|D #Z 716

Medtronic sales representatives were also present during the experimental surgeries performed on
Plaintiffs, who are clients of the Deters Law Firm.
97. CAST was a corporation organized under the laws of Ohio and had business and medical
offices in Florence, Kentucky and Evendale, Ohio. CAST was owned, in whole or in part, by Dr.
Durrani.
98. Bahler Medica], lnc. is a manufacturer of medical implants and is a corporation located in
the state of Ohio.
99. David Rattigan is an Ohio resident and was and is a sales representative for Medtronic.
Further, he is affiliated with Bahler Medical, lnc., was involved in many of the transactions
involving BMP-Z, and was present for the experimental surgeries in Whjch BMP-Z was used.
100. West Chester Hospital, LLC is a corporation organized under the laws of Ohio. lt provides
medical facilities and billing support to physicians, including Dr. Durrani, in the state of Ohio.
WCH is owned by UC Health.
l 01 . UC Health is a private, non-profit corporation organized under the laws of Ohio. It provides
medical facilities, management, administrative, ancillary, and billing support to physicians, and it
owns WCH.
102. CCHMC is a medical facility in Ohio where Dr. Durrani was an employee until
approximately 2008.
III. WHAT IS BMP-Z/lNFUSE?
103. The full name of BMP-Z is “Recombinant Human Morphogenetic Protein-?." (also called
thl'\/IP»Z). The following definitions apply:

a. Recornbinant - Artiticially created in a lab;

b. Morphogenetic - Evolutionary development of an organism;

e. Protein - Essential for growth and repair of tissue.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 14 Of 74 PAGE|D #Z 717

104. Recombinant human protein (thMP-?.) is currently available for orthopedic usage in the
United States.

105. Medtronic manufactured, marketed, sold, and distributed BMP-Z under the trade name
“Infuse.”

106. BMP-2 has been shown to stimulate the production of bone.

107. Irnplantation of BMP-Z in a collagen sponge induces new bone formation and can be used

for the treatment of bony defects, delayed union, and non-union.

BMP-Z AS A BIOLOGIC

108. BMP-2 is not a device, but instead it is a biologic. See July 2009 American Medical
Association Article and 2011 Stanford School of Medicine Article.

109. According to the FDA, “[a] ‘biological product’ means a virus, therapeutic serum, toxin,
antitoxin, vaccine, blood, blood component or derivative, allergenic product, or analogous product,
or arsphenamine or derivative of arsphenamine (or any other trivalent organic arsenic compound),
applicable to the prevention, treatment, or cure of a disease or condition of human beings (Public
Health Service ActSec.35l(i)l."’Available
littp://www.fda.gov/ICECI!lnspections/lOM/ucml 2253 5 .htm.

llO. BMP-2 is a Bone-Morphogenetic Protein that is used to promote bone creation and
remolding and falls under the definition of a biologic. See AMA article (“bone forming
properties”) and Stanford Article. Bl\r[P-Z differs from a medical device in that once implanted, it
can only be removed days after surgery. lf a patient had a complication due to BMP-Z and did not
discover this complication until year after surgery, the patient could not have BMP-2 removed to

reduce the complication because BMF-Z is so integrated into the patient’s bone.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 15 Of 74 PAGE|D #Z 718

ll]. A patient has a right to determine what happens to his or her body and the preservation of
that right requires that the patient be informed when a bone growth product, that causes irreversible

harm, is placed in his or her body.

WHEN IS IT USED?
l 12. Recornbinant human BMPs are used in orthopedic applications such as spinal fusions, non-

unions, and oral surgery.

ll3. The bone grait contains two parts The nrst is a solution of human bone growth protein or
morphogenetic protein-.'Z. This protein is found in the human body in small dosages and is
important for the healing and formation of bones. The protein is genetically engineered to be
utilized in the lnfuse Bone Gratt product, and it is employed for the stimulation of formation and
growth in bones.

l 14. The second part of the bone graft is an absorbable collagen sponge

l 15. Both components of the lnfuse Bone Graft structure are used to till the LT-Cage Lumbar
Tapered Fusion Device. This chamber is intended to restore the deteriorated disc space to its
original height

l l6. FDA-approved use for the Iniiise Bone Graft product is only for lower back surgery using
an anterior lumbar interbody fusion (ALIF), a technique where the operation on the spine is
conducted through the abdomen.

l l'i‘. ln addition, the lnque Bone Graft product must be used in conjunction with Medtronic’s

LT-Cage. Use of BMP-2 without the LT-Cage is considered an “off-label” use.

CONTRAINDICATIONS OF USE
llS.The FDA specifically warns against the use of Infuse in the cervical spine, citing reports of

LLlife-threatening complications.”

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 16 Of 74 PAGE|D #Z 719

l l9. Ariy use of lnfuse other than in lumbar spine surgeries with the I_.T-Cage is considered “ot`f-
label” use

120. Infuse should never be used on the skeletally immature patient, i.e., in patients less than 18
years of age or those with no radiographic evidence of epiphyseal closure

12l.1nfuse should never be used in the vicinity of a resected or extant tumor.

122.Infuse should never be used in those patients known to have active infection at the Surgical

site.

RISKS ASSOCIATED WI'I`H OFF-LABEL USE

123. When used in an off-label manner, patients may experience problems with pregnancy,
including but not limited to: complications in fetal development; allergic reactions to titanium,
bovine type l collagen, or bone morphogenetic protein-§§ infection; the creation or intensification
of tumors; liver or kidney disease; lupus or human immunodeficiency virus (HIV/AIDS};
problems with radiation, chemotherapy, or steroids if a patient is malignant; paralysis; bowel
and/or bladder dysfunctions; sexual disorders, including sterilization and incompetence;
respiratory failure; excessive bleeding, and; death.

IV. THE REGULATORY PROCESS

124. The Medical Device Aniendrnents (MDA) to the federal Food, Drug, and Cosmetic Act,

21 U.S.C. § 301 et seq., established two separate approval processes for medical devices: Pre-

Market Approval {PMA) and Pre-Market Notihcation.?l

125. The FDA’s PMA process is lengthy and involves extensive investigation by the FDA. The

PMA application requires manufacturers to submit extensive animal and human data to establish

 

1 Fendar v_ Medimar¢, ssi r.supp. 1326 rn 1 (E.D. ca1.1995).

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 17 Of 74 PAGE|D #Z 720

their devices‘ safety and effectiveness 21 C.F.R. § 814.20. Frequently, an experimental program
under close FDA scrutiny must be successfully completed before FDA approval can be obtained
under this process. FDA regulations also require PMA applicants to submit copies of all proposed
labeling for the device 21 C.F.R_. § 814.20(b)(l()). The FDA approves a PMA application only
after extensive review by the agency and an advisory committee composed of outside experts §
C.F.R. § 314.40.2

126. ln contrast, the FDA’s Pre-Market Notif`ication process is more abbreviated and involves
less FDA oversight This process requires applicants to submit descriptions of their devices and
other information necessary for the agency to determine whether the devices are substantially
equivalent Pre»-Marl<et Notitication applicants must also submit their proposed labeling 2_1_
C.F.R. § 80?.87_ If the FDA determines that a device is substantially equivalent to a device that
was on the market prior to the enactment of the MDA in 1976, the applicant is Hee to market the
device.

127. BMP-Z received PMA (PMA number PODDOSS) for the Infuse/BMP-Z Lumbar Tapered
Fusion Device, which PMA provided for limited use with specihc requirements for its use on

individuals See Medtronic Package Insert.

SCOPE OF THE PMA AND PRODUCT LABELING
l28. The PMA for BMP-2 provided that the product may only be used in patients with the
following characteristics:

d. Skeletally mature patient, AND

e. At levels L2-Sl, AND

 

z Fenderv. Medtronr'c, 887 F.Supp. 1326 fn l (E.D. Cal.l995).

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 18 Of 74 PAGE|D #Z 721

f. Confirmed degenerative disc disease (DDD), AND

g_ ` Using only an open anterior or anterior laparoscopic approach, rill\]l)31
h. Six months ofnon-operative treatment prior to treatment with the device, AND
i. ]n combination with the metallic LT-CAGE.“

See Medtronic Package lnsert, “INDICATIONS."
129. According to Medtronic’s package insert for BMP-Z/lnfuse as well as other industry

literature, the following risks are associated with the use of BMP-Z/lnfuse:

A. Male Sterility

B. Cancer

C. lncreased progression of cancer

D. Sur`focation of the cervical region

E. Bone fracture

F. Bowel/bladder problems

G. Loss of spinal mobility or function

H. Change in mental status

I. Damage to blood vessels and cardiovascular System compromise
]. Excessive bone mass blocking the ability to treat pain
K. Damage to internal organs and connective tissue

L. Death

M. Respiratory problems

 

3 The anterior interbody insion approach was developed because the risk of non-union (pseudarthrosis) is significantly
higher in posterior approaches The biggest rile factor for fusion surgery is non-union.

° lnstrumented fusions involve hardware and are more stable hisions with a shorter recovery time than non-
insu'umented fusions.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 19 Of 74 PAGE|D #Z 722

N. Disassernbly and migration of components

O. Dural tears

P. Ectopic and exuberant bone formation

Q. Fetal development complications (birth defects)

R. Foreign body (allergic) reaction

S. Gastrointestinal complications

T. lncisional complications

U. Infection

V. lnsuftlation complications

W. Neurological system compromise
X. Non-union

Y. Delayed union

Z. Mal-union

AA. Change in curvature of spine
BB. Retrograde ej aculation
CC. Scars

DD. Tissue and nerve damage

EE. Itching
FF. Pain
GG. Hematoma

I-l H. Anaphylactic reaction
ll. Elevated erythrocyte sedimentation rate

130. Injury Percentages:

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 20 Of 74 PAGE|D #Z 723

j. Ectopic Bone Growth-63%

k. Intlammatory Neuritis~l 5%

l. Osteolysis/Snbsidence-13 %

rn. Acute Swelling~’?%

n. Retrograde Ejaculation-Z%

o. 85% of time, BMP-?. implanted in oft`~label use
l31. Not a single one of these risks in the last two paragraphs were ever explained to a single
patient at Children’s Hospital by Dr. Durrani.
132. BMP-2 was NOT approved by the FDA for use in the cervical and thoracic spine and BMP-

2 was NOT safe or approved for use in children less than 21 years of age. These uses are considered

“ot`f~labe .”

“OFF-LABEL” USE
133. A use of a device is considered “ot`f-label” if it is not approved under the Pre-Market
Approval process OR cleared for such use pursuant to 21 U.S.C. § 360c(t) (also known as “the
5101< premarket notification process”).
134. lniiise can be implanted in an off-label manner in three ways:
p. Approach/position: Any approach other than an anterior approach;
q. Product: Failure to use LT-Cage (or any cagc); mixing thMP~Z with other
grading products like A]lograit or Autograti;
r. Discs: Use on multiple levels or on a level outside of L2~Sl.
135. Dr. Durrani and the Hospitals in which he performed surgeries repeatedly used BMP~?. in

these non-FDA-approved manners.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 21 Of 74 PAGE|D #Z 724

THE NON-COMPLIANCE WITH THE REGULATORY PROCESS

136. The PMA 000058 “Conditions of Approval” specifies the following condition: “Before
making any change affecting the safety or effectiveness of the device, submit a PMA supplement
for review and approval by the FDA [a] PMA supplement or alternate submission shall comply
with applicable requirements under 21 C.F.R. 814.39[.]"

137. 21 C.F.R. 814.39 requires a PMA supplement pursuant to subsection (a)(l) for new
indications of use of the device and pursuant to subsection (a)(6) for changes in components

138. The PMA 000058 “Conditions of Approval" notes the post-marketing reporting
requirement imposed by 21 C.F.R. 814.84, particularly “Identii:`rcation of changes described in 21
C.F.R. 814.39(a)."1\/Iedtronic did not comply with this requirement relating to the intended uses
and componenuy.

139. The FDA can impose post-approval requirements in the PMA pursuant to 21 C.F.R.
814.82, and this fact results in the device being characterized as “restricted” pursuant to 21 U.S.C.
§ 360_j(e) for purposes of 21 U.S.C. § 352(q). Section 352(¢:1} states that any restricted device that
is distributed or offered for sale with false or misleading advertising is “misbranded."

l40. “lndications for use” is a necessary part of the PMA application and the “lndications for
use” are required to be limited by the application Any different use is inconsistent with the PMA.
141. A device that fails to meet the requirements of the PMA or 21 C.F.R. 814 is “adulterated”
as defined by 21 U.S.C. § 351(f).

142. 21 C.F.R. 801 .6 defines a misleading statement related to a DIFFER_ENT device contained
in the label delivered with the device intended to be used will render the device to be used

misbranded.

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 22 Of 74 PAGE|D #Z 725

143. Medtronic did not apply for a PMA supplement, as required by the FDA generally and
PMA 000058 specifically, for the off-label uses, nor did it provide warnings of the risks known
about the off-label uses. All named Defendants in these cases knew about the occurrences of off-
label use.

144. The PMA requires an application prior to marketing for new indicated uses by
incorporating the federal requirements and explicitly reciting the text of 21 C.I-`rR. 814.39 and
814.84 and by specifically stating the range of indicated uses on the PMA.

V. N[EDTRONIC

145. ln or about 2001, Medtronic began preparing for the launch of two spinal fusion products,
PYRAM]D and INFUSE (BMP-2), which it projected would enjoy broad application with spinal
surgeons and their patients on a nationwide basis.

146. Medtronic anticipated that both products would initially be limited in application.

147. Motivated by greed and a desire to gain competitive advantage in the marketplace
Medtronic began a course of conduct designed to broaden the application of both products by end»
users. The course of conduct involved fraud, false statements, material misrepresentation, and
deceit for the purpose of broadening the sales of these products beyond that which the usual
acceptance within the scientific community or regulatory approval would otherwise allow.

148. On or after July 2, 2002, Medtronic received notification that its Pre-Market Approval
application for its BMP-2/lnfuse bone graft products had been approved by the FDA. However,
such approval was limited to the application of the device from the L4 through Sl levels. Further,
the approval mandated the conduct of post-approval studies to evaluate the long-term performance
of the BMP-2 bone graft and to study the potential side effects and complications such as the

promotion of rumors by the bone morphogenetic protein component of BMP-Q. Other studies were

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 23 Of 74 PAGE|D #Z 726

conducted as well. See “Allegations against Medtronic in the Unsealed Mississippi False Claims
Case.”

149. Medtronic engaged in a fraudulent course of conduct designed to maximize its revenues
from BMP-Z, regardless of whether it would eventually be allowed to remain on the market.

150. One of the physicians Medtronic co-opted into its fraudulent scheme was a Thornas A.
Zdeblick, M.D. Dr. Zdeblicl< was an orthopedic surgeon whose invention, the LT-Cage, was the
only approved device to act as the delivery vehicle for BMP-2 into the body.

lSl. Dr. Zdeblick enjoyed a position within the scientific community as a Key Opinion Leader,
and he was both a practicing orthopedic surgeon and professor at the University of Wisconsin.
152. In one of Dr. Zdeblick’s iirst attempts to tout his LT-Cage and thMP-Z, which would
become the active ingredient in the ultimate IniiisefBMP-?. product, he encountered some
drawbacks to his goal of promoting his and Medtronic’s products, which arose from the policy of
certain industry journals, including the journal sz`ne, which followed industry standards before
printing peer-reviewed material. See article in the journal S_pine, published in 2000.

153. Not only were the drawbacks related to industry publishing standards, but the National
Consurner Health Int`ormation and Health Promotion Act of 1976 enacted certain provisions at 42
U.S.C. § 300u, et seq., whereby the Federal Government had entered the field of medical research
publication Such standards promulgated by the Secretary of the predecessor to the U.S.
Departrnent ofHeaith and Human Services required that applications for grants and connects must
be subject to “appropriate peer review.” See 42 U.S.C. § 300u-l.

154. The drawbacks encountered with the peer-reviewed Spine article were as follows:

a. Attribution that the study was “sponsored by Medtronic Sofarnor Danel<, lnc.;”

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 24 Of 74 PAGE|D #Z 727

b. The study was conducted under FDA regulations, and was “. . designed as a
prospective, multicenter, nonblinded, randomized, and controlled pilot study;" and
c. lt was accompanied by a cautionary comment, or Point of View, which minimized
the exuberance and import of the article
155. ln the article, BMP~Z was touted by Zdeblick and the co-authors as the potential realization
of a dream of Dr. Marshall Urist, a revered pioneer in the industry and discoverer of BMP, where
it closed with the following: “. . .it is encouraging to note that Marshall Urist’s seminal observation
made more than 34 years ago may finally come to clinical ii'uition.”
l56. ln the Point of View, a Dr. John O’Brien of London questioned whether there could be
long-term problems associated with the product He treated Zdeblick’s study with caution and
pointed out that simple plaster ofParis has achieved the same or similar results more than 50 years
prior. He posited that, “[p]erhaps vascularization...fixation procedures are as important as the
biochemical composition of the ‘filler.”’
157. Vasculaiization is achieved through removal of the disc material between two vertebral
bodies and then the scraping of the surfaces of the vertebral bodies in a fusion procedure; fixation
is the process of securing the motion segment through medical hardware ln other, if the alternative
proposed by Dr. O’Brien proved to achieve equivalent or better results, Zdeblick and Medtronic’s
Infuse/BMP-2 products would be useless and unnecessary
158. Certain efforts would follow in an attempt to alleviate the drawbacks encountered With the
2000 Spine journal article
159. ln 2002, Dr. Zdeblick was installed as the sole editor-in-chief of a medical journal known
prior to his installation as the Jom'nal of sz`nal Disorders. Prior to his installation, the journal

enjoyed a fourteen year history under the co-editorship of Dr. Dan Spangler and Dr. Torn Ducker.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15716 Page: 25 Of 74 PAGE|D #Z 728

Once installed, Dr. Zdeblick successfully supplanted Drs. Dan Spengler and Tom Ducker and
became the sole editor-in-chief, a position which would enable him to have greater control and
would aid his participation in the fraudulent scheme

160. During this same time period, Dr. Zdeblick also enjoyed a position on the associate
editorial board of the medical journal Spine, the leading publication covering all disciplines
relating to the spine.

161. In one ofDr. Zdeblick’s actions as editor-in-chjef, he set about re-purposing the journal in
a way that would aid him in the furtherance of the fraudulent scheme through the streainlining of
the publication process

162. In furtherance of the fraudulent scheme, Dr. Zdeblick re-purposed the journal and renamed
it the Journa[ ofsz`nal Disorder's and Tec/mfgues (JSDT), announcing that the new journal was
“entering a new partnership with Spt`ne." As part of this partnership, Spine would “continue to
function as a broad-based scientific journal“ tailored to both clinicians and scientists However,
the Jou:‘nal ofSpinal Disarders and Technz'ques would be directed solely to physicians in clinical
practice.

163. Dr. Zdeblicl<’s stated goal was “to provide a forum for up-to-date techniques...", and in
furtherance of that goal, Dr. Zdeblick announced that his journal would publish Class ll or better
clinical articles but would “occasionally accept cutting edge articles with less than one year follow-
up." To justify this streamlined process, Dr. Zdeblick claimed as his goal the ability of his journal
“to keep up with the fast pace of progress in the treatment of spinal patients.”

164. Arm-in-arrn with Medtronic and others, Dr. Zdebliclr would in short order abuse his

position of trust as the editor-in-chief of JSDT.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 26 Ol 74 PAGE|D #Z 729

165. ln the October 2002 edition, JSDT published an article entitled, “Anterior Lumbar
Interbody Pusion using thMP-2 with Tapered lnterbody Cages.” This article was co-authored by,
among others, Curtis A. Diclcman, M.D., who was a developer of Medtronic’s PYRAMID plate
_ and who has been paid significant sums by Medtronic through royalty agreements, consulting
agreements, and education training and speaking agreements

166. In addition to his interest in the PYRAMID plate, Dr. Dickman had assisted Medtronjc in
the approval process for Infuse/BMP»Z. As part of the pre-approval hearing process, Dr. Dickman
and his Barrow Neurological Associates Group of Phoenix, Arizona had submitted a letter to the
meeting of the FDA’s Orthopedics and Rehabilitation Devices Advisory Panel, which met on
lanuary lO, 2002. In that letter, Dr. Dickman represented that “approval of BMP would provide a
significant advance for patient outcome and satisfaction following spinal fusion.”

167. Ir1 the October 2002 issue of JSDT touting the benehts of infuse/BMP-2, Zdeblick and
others failed to disclose their financial ties to Medtronic, though industry standards require such
acknowledgement Not only did Dr. Zdeblick fail to‘disclose that he profited from each and every
surgery which lnfuse/BMP-2 was used through rights in the exclusive delivery vehicle, his LT-
Cage, but no reference whatsoever to their financial ties to Medtronic Was made either by Dr.
Zdeblick or Dr. Diclrrnan.

168. For years, the recognized gold standard for spinal bone grafts has been the use of
autogenous bone, or bone harvested from the patient’s own iliac crest, or hip bone. Medtronic
designed to have its lnfusefBMP-?. product supplant autogenous bone as the gold standard in the
medical community, and utilized false statements, a fraudulent enterprise and the support of

Federal funds to do so.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 27 Of 74 PAGE|D #Z 730

169. As part and parcel of Medtronic’s fraudulent scheme, the October 2002 study was
published in Dr. Zdeblick’s journal three months after Medtronic received FDA approval for
lnfuse As the article shows, it was actually received on March 28, 2002 or after Dr. Zdeblick had
accomplished installment as the editor-in-chief, and was accepted by Dr. Zdeblick’s journal for
publication on luly 30, 2002.

170. At the same time Dr. Z.deblick’s journal was publishing the initial article on lnfuse, Dr.
Zdeblick Was already finalizing and preparing for subsequent publication a follow-up article to
fOllf lnfuse potentially as the new gold standard A second articleJ co-authored by Dr. Zdeblick and
two other co-authors of the original article, was entitled “Is lnfuse Bone Graft Superior to
Autograft Bone? An Integrated Analysis of Clinical Trials using the LT-Cage Lurnbar Tapered
Fusion Device.“

i'?l. This second article Was published in Vol. 2 of 2003 and once again, there was no mention
of Dr. Zdeblick’s financial ties to Medtronic.

172. This second article would serve as the second covert advertisement for the lnfuse product,
and the article states that “the purpose of our analysis was to investigate the potential statistical
superiority of lnfuse bone graft to autograft. . .”

l73. This second article went on to announce the luly 2002 FDA approval of thMP-Z.

174. This article included as an “acknowledgment” an expression of gratitude to the physicians
“who provided patients for this study and to the clinic research group at Medtronic Sofamor Danek
for their help in data collection and statistical analyses.” However, the article still failed to advise
the medical community that some or all of the authors reaching these conclusions touted as

monumental had direct financial interests tied to those conclusions

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 28 Of 74 PAGE|D #Z 731

175. Rather, the failure to report these clear conflicts of interest on the part of those holding
positions of trust both within the medical community and over patients was part of Medtronic’s
fraudulent enterprise However, unchecked by appropriate peer review, Medtronic was able to
systematically accomplish their goals.

176. In its 2003 Annual Report, and without recognizing that Zdeblick was being paid by
Medtronic, Medtronic cited to Zdeblick’s 2003 as reporting that lnfuse “. . .may become the new
gold standard in spinal fusion surgery.”

177. By its 2006 Annual Report, if not earlier, Medtronic had removed all doubt, declaring that
after its introduction in 2002, “lnll.lse Bone Graft quickly became the gold standard for certain
types of lumbar fusion.”

178. Medtronic’s ii'audulent scheme was successful and resulted in a revenue stream ranging
from 700 to 900 million dollars per year.

179. lt has been reported that around the same time these stories about lnfuse were published,
editors at the Spine Journal began receiving complaints from doctors around the country who were
pointing out contradictions between papers published by doctors With financial ties to Medtronic
and other data involving lnfuse complications.’ See Joitrnal Sentz‘nel article oflohn Fauber.

180. Through the use of these sham consulting, royalty and education/training agreements with
its physician agents in this h'audulent enterprise, Medtronic has reaped windfalls in the billions of
dollars Medtronic has used this fraudulent enterprise and civil conspiracy to drive its vast profits
and enhance its market position beyond that which it would have realized without engaging
willfully, knowingly and potentially deliberate, conscious, or reckless indifference in the
Jdaudulent enterprise and fraudulent concealment See Mississippi case.

181 . Defendants had full knowledge of all these facts pertaining to Medtronics

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 29 Oi 74 PAGE|D #Z 732

VI. FDA PUBLIC HEALTH NOTIFICATION
182. On luly 1, 2008 the FDA issued a Public Health Notiiication entitled “Life-Threatening
Complications Associated with Reconibinant Human Bone Morphogenetic Protein in Cervical
Spine Fusion."
183. Thjs notiiication was sent to health care practitioners all across the United States warning
of the complications associated with BMP-2, specifically when used in the cervical spine.
184. in the notification the FDA stated they received at least 38 reports of complications during
the prior four years with the use of BMP~Z in cervical spine fusions.
185. The complications were associated with swelling of the neck and throat areas, which
resulted in compression of the airway and/or neurological structures in the neck.
186. Some reports describe difficulty swallowing, breathing or speaking and severe dysphagia
following cervical spine fusion using BMP-2 products had also been reported.
187. The notification further stated that, “since the safety and effectiveness of thl\/[P for
treatment of cervical spine conditions has not been demonstrated, and in light of the serious adverse
events descride abOV€, FDA recommends that practitioners either use approved alternative
treatments or consider enrolling as investigators in approved clinical studies
188. The Notiiication further emphasized the importance ot` fully informing patients of these
potential risks and said that patients treated with BMP-?. in the cervical spine should know:
s. The signs and symptoms of airway complications, including difficulty
breathing or swallowing, or swelling of the neck, tongue, mouth, throat and
shoulders or upper chest area

t. That they need to seek medical attention immediately at the first sign of an

airway complication

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 30 Oi 74 PAGE|D #Z 733

u_ That they need to be especially watchful 2-14 days after the procedure when
airway complications are more likely to occur
v. thMP-2 (contained in lnfuse Bone Graft) has received pre-market
approval _ for fusion of the lumbar spine in skeletally mature patients with v
degenerative disc disease at one level from L2-S1 and for healing of acute, open
tibia] shaft fractures stabilized with an IM nail and treated within 14 days of the
initial injury
189. Additionally, BMP is not approved in any manner for use in patients who are skeletally
immature (<18 years of age) or pregnant
190. Dr. Durrani and the Hospitals ignored ALL of these warnings and used BMP-Z in cervical
spine surgeries, children, and those with known compromising factors such as osteoporosis,
smoking, and diabetes
191 . Furtherrnore, the Notification stated that the FDA requires hospitals and other user facilities
to report deaths and serious injuries associated with the use of medical devices
192. The Hospitals that allowed Dr. Durrani to use BMP-2 in their facilities failed to report any
complications resulting from his use of BMP-Z.
VII. SENATE F]_NANCE CON[MITTEE REPOR'I`
193. Medtronic’s actions did not go unnoticed, and in June of 2011 the Senate Finance
Committee began an investigation into the fraudulent actions of Medtronic.
194. Medtronic produced more than 5,000 documents pertaining to 13 different studies ofBMP-
2 for the investigation
195. On October 25, 2012, Senate Finance Comrnittee Chairman Max Baucus (D-Mont.) and

senior member Chuck Grassley (R-Iowa) released the results of their ld-month investigation into

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 31 Oi 74 PAGE|D #Z 734

Medtronic, which revealed questionable ties between the medical technology company and the
physician consultants tasked with testing and reviewing Medtronic products

196. The investigation revealed that Medtronic employees collaborated with physician authors
to edit and write segments of published studies on Blle-Z/lnfuse without publicly disclosing this
collaboration

197. ’Ihese fraudulently-produced studies may have inaccurater represented BMP-Z’s risks and
may have placed added weight on the side effects of alternative treatments

198. The Senate investigation further found that Medtronic also maintained si gnii:icant,
previously undisclosed iinancial ties with physicians who authored studies about BMP-?., making
$210 million in payments to physicians over a 15~year period,

199. Senator Baucus stated, “Medtronic's actions violate the trust patients have in their medical
care. Medical journal articles should convey an accurate picture of the risks and benefits of drugs
and medical devices, but patients are at serious risk when companies distort the facts the way
Medtronic has. Patients everywhere will be better served by a more open, honest system without
this kind of collusion.”

200. Senator Grassley stated, “The findings also should prompt medical journals to take a very
proactive approach to accounting for the content of the articles along with the authorship of the
articles and the studies they feature These publications are prestigious and influential, and their
standing rests on rigorous science and objectivity. lt’s in the interest of these journals to take action,
and the public will benefit from more transparency and accountability on their part.”

201 . Major findings of the investigation include:

a. Medtronic was involved in drafting, editing, and shaping the content of medical
journal articles authored by its physician consultants who received significant amounts of

money through royalties and consulting fees horn Medtronic. The company’s role in

CaSe: 1216-CV-00161-TSB DOC #Z 4 Filed: 01/15/16 Page: 32 Oi 74 PAGE|D #Z 735

authoring or substantially editing these articles was not disclosed in the published articles
Medical journals should ensure that any industry role in drafting articles or contributions
to authors is fully disclosed

b. Medtronic paid a total of approximately 5210 million to physician authors of
Medtronic-sponsored studies from November 1996 through December 2010 for consulting,
royalty and other arrangements

c. An e-mail exchange shows that a Medtronic employee recommended against
publishing a complete list of adverse events, or side eH`ects, possibly associated with BMP-
2/lnfuse in a 2005 Joumal ofBone and Joiiit Sui'geiy article.

d. Medtronic officials inserted language into studies that promoted Bl\/fP-Z as a better

technique than an alternative by emphasizing the pain associated with the altemative.
e. Documents indicate that Medtronic prepared one expert’s remarks to the
FDA advisory panel meeting prior to BMP-2 being approved At the time, the
expert was a private physician but was later hired to be a vice president at Medtronic
in 2007.
f. Medtronic documents show the company successfully attempted to adopt
weaker safety rules for a clinical trial studying BMP-2 in the cervical spine that
would have allowed the company to continue the trial in the event that patients
experienced severe swelling in the neck.
VIII. YODA STUDY
202. ln response to the various controversies surrounding BMP-2/lnfuse, including a June 2011
article in the journal Spine, the Yale University Open Data Access (`YODA) team reached an
agreement for Medtronic to provide full individual participant data from all their trials of thMP-

2 and allow unrestricted independent re-analysis of this data.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 33 Of 74 PAGE|D #Z 736

203. The YODA study involved research teams at two universities - the University of York and
the Oregon Health and Science University.

204. The review focused exclusively on the use of thMP-Z in patients undergoing spinal fusion
surgery for treatment of degenerative disc disease, spondylolis_thesis, or any other relevant spinal
condition

295. The three main objectives of the study were: l) to examine the potential benefits of BMP~
2, 2) to examine the potential harms of BMP-Z, and 3) to assess the reliability of the published
evidence base.

206. Medtronic submitted data from 17 studies, including l2 randomized controlled trials
(RCTs).

207. ln total, the YODA study analyzed the data from 1,409 participants

208. Though the results showed moderate success with ii.isions as a result of BMP~Z, the study
found that BMP-Z results in several different complications including: arthritis, implant-related
events, retrograde ejaculation, wound complications, and neurological, urogenital, and vascular
events.

209. ln regard to the alleged tampering With the peer-reviewed studies by Medtronic, the YODA
study found that only two out of twenty peer-reviewed journal publications reported a
comprehensive list of all adverse events that occurred during the studies

210. Furthermore, the way in which adverse event data was presented in the literature was
inconsistent, and the rationale for presenting some adverse events but not others was rarely clear.
21 l. The study concluded that for the period up to 24 months after surgery, treatment with BMP-
2 increases the probability of successful fusion (according to Medtronic definitions and reports,

which the study noted “were subjective so it is not possible to contirm whether reported successful

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 34 Of 74 PAGE|D #Z 737

fusions truly were successful" see YODA Study, p. 35) but this does not translate to clinically
meaningful benefits in pain reduction, hinction, or quality of life. The small benefits in these
outcomes observed hom six months onward come at the expense of more pain in the innnediate
post-operative period and a possible increased rislc_ of cancer.

212. Even more relevant to the case against Dr. Durrani and the Hospitals is the YODA study’s
conclusion that, “[i]t is very important that these findings are expressed clearly and discussed with
patients so that they can make informed choices about the type of surgery they would prefer.” Id.

213. The University ofOregon Study determined that Infuse/BMP-2 is not better than Autografc,
while the University of York study determined that lnfuse/BMP-Z offers only a slight and not
statistically significant advantage over Autograft.

2l4. The YODA study concluded that Medtronic “misrepresented the effectiveness and harms
through selective reporting, duplicate publication, and underreporting.”

215. Adverse event categories such as heterotopic bone formation, osteolysis, and radiculitis
were not included in participant databases or internal reports; therefore, the safety profile was not
fully assessed

216. The YODA study further concluded that Medtronic was involved in drafting, editing, and
shaping the content of medical journal articles on 1nfuse/BM`P-2 authored by its physician
consultants who received significant amounts of money through royalties and consulting fees from
Medtronic. The company’s signihcant role in authoring or substantively editing these articles was
not disclosed in the published articles

217. Medtronic paid a total of approximately $210 million to the physician authors of
Medtronic-sponsored studies on lnfuse from Noveniber 1996 through 2010 for consulting royalty

and other arrangements

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 35 Of 74 PAGE|D #Z 738

218. An email exchange showed that a Medtronic employee recommended against publishing a
complete list of adverse events or side effects possibly associated with lnfuse in a 2005 Joumal of
Bone and Joirzt Sw‘geiy article.

219. Medtronic officials inserted language into studies that promoted lnfuse as a better
technique than an alternative procedure by overemphasizing the pain associated with the
alternative procedure.

220. Medtronic’s actions violated the trust patients have in their medical care. Medical journal
articles should convey an accurate picture of the risks and benefits of drugs and medical devices,
but patients are at serious risk when companies distort the facts the way Medtronic has. See United
States Senate Comrnittee on Finance, October 2012.

221. Infiise Was intended for a single level anterior lumbar interbody iiision performed With all
three components in a specific spinal region. The three components are a tapered metallic spinal
fusion cage (`NOT PLASTIC), a recombinant human (BMP) bone Morphogenetic Protein, and a
earlier/scaffold for the BMP and resulting bone. The lnfuse product is inserted into the LT-CAGE
Lurnbar tapered Fusion Device component to form the complete lnfuse Bone Graft/LT-Cage
Lumbar Tapered Fusion Device. These components must be used as a system. The lnfuse Bone
Graft component must not be uses without the LT-Cage Lumhar Tapered Fusion Device
component

222. BMP-2 is not supposed to be used in minors

223. BMP-Z is not supposed to be used with smokers and diabetics because of vascular slowing

224. BMP-Z should not be used with women in child bearing years.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 36 Of 74 PAGE|D #Z 739

225. Bl\/fP-2 is contraindicated for patients with a known hypersensitivity to thMP-2 and
should not be used in the vicinity of a resected or extant tumor, in patients with active malignancy,
or in patients undergoing treatment for a malignancy.

]X. DR. DURRANI AND BMP-Z

226. Despite all of these warning signs, Dr. Durrani, with the hill knowledge of the Defendants,
continued to use BMP-Z in ways not approved by the FDA, or in an “off-iabel” manner.

227. As early as 2007, Dr. Durrani and UC Health knew there were issues with BMP-2 because
insurance companies such as Anthem were refusing to pay for BMP-Z.

228. Medtronic provided in writing to Dr. Durrani and CAST the approved uses for

lnfi.ise/BMP-Z.

229. However, Dr. Durrani and the Defendants continued to use BMP-2 in off-label ways,
including but not limited to:
a. Using BMPFQ/Infuse in childreu, despite Medtronic specifically requiring it be
used only in “slceletaliy mature patients;"
b. Using it outside the LZ-Si level of the spine;
c. Ignoring the requirement that BMP~Z/lnfuse only he used for Grade 1
spondylolisthesis or Grade l retrclisthesis;
d. Not requiring at least six months of noncperative treatment prior to the use of
BMP-.?/Infuse;
er _ Usi_ng BMP-Z/Infuse without the required cage;
f. Not using the “carrier scaffold" in conjunction with Blv[P-?_flnfuse as required;
g. Using BMP»Z/lnnise without proper training despite Medtronic’s waming,
“Caution: Federal (USA) law restricts this device to sale by or on the order of a physician

with appropriate training or experience.”

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 37 Of 74 PAGE|D #Z 74O

230. Dr. Durrani was a paid consultant for Medtronic.

231. According to Dr. Durrani’s own deposition testimony in several cases, Medtronic required
one of their representatives to be present in the operating room when its product BMP-Z/Infuse is
used.

232. Beeause Medtronic representatives were present in these surgeries, Medtronic knew when
Dr. Durrani used BMP-2/lnfuse outside the approved uses according to Medtronic’s own
guidelines

233. Dr. Durrani was encouraged by Medtronic to obtain peer review and published studies from
Medtronic sales representatives to support his use of BMP-Z/lnfuse.

234. Dr. Durrani Was encouraged by Medtronic to be an advocate for his patients and describe
how BMP-Z/Inf`use technology can benefit them.

235. When asked how he got his Medtronic grant, Dr. Durrani responded, “You apply to the
Medtronic’s corporate and say this is what we want to do, like everybody else in the country
applies, and then they come and evaluate the thing and say, “Okay, we think it’s worthy. We’ll
give you the grant.”

236. In regard to his role as a Medtronic consultant, Dr. Durrani stated, “If there are certain
products that they help us in developing, then they will come to us for a certain consultant role for
a certain product development.”

237. Dr. Durrani also stated, “I was involved in the development of the minimally invasive spine
instrumentation.”

238. Dr. Durrani gave conflicting reports on his iinancial relationship with Medtronic.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 38 Of 74 PAGE|D #Z 741

239. In a deposition, when asked when his relationship With Medtronic began, Dr. Durrani
responded “QOOO-it’S 2003, ’04. Something in that category. I’m not sure. It’s on the Medtronic
website. You can go look at it.”

240. Medtronic’s website has no information regarding their relationship with Dr. Durrani.

241 . ln another deposition, Dr. Durrani stated he began his relationship with Medtronic in “2005
or ’06.”

242. Dr. Durrani also gave conflicting reports on how much compensation he received from
Medtronic for his consultation services

243. In one deposition, Dr. Durrani stated in response to an inquiry as to how much payment he
received, “It’s a standard compensation Again, it’s on the website, how much they’ve paid us.”
244. Again, this information is not available on the Medtronic website.

245. ln another deposition, when asked if he received income from Medtronic, Dr. Durrani
replied, “No, I don’t.”

246. When questioned further if he received a fee as a consultant, he stated, “If you do a work,
there is a contractual obligation that they have to pay you. As I told you in my last deposition, they
did declare it on their website, s_o you can actually go on the website and see how much they paid.”
247. In another deposition, Dr. Durrani stated that he received, “less than $10,000 in ten years”
from Medtronic.

248. An email dated July 30, 2008 from Medtronic Senior Product Manager Katie Stamps to
Dr. Durrani states that she “is in the process of working on the renewal of your [Dr. Durrani’s]
consulting agreement." As stated, this information is not available on Medtronic’s website, nor is

any information relating to Dr. Durrani’s role as a consultant for Medtronic.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 39 Of 74 PAGE|D #Z 742

249. A CCHMC packet relating to its Orthopedics department indicated that Dr. Durrani
received SG0,00D in grants, contracts or indusuy agreements from Medtronic Sofamor Danek in
FY 2008.

250. Financial information discovered concerning Dr. Durrani’s relationship with Medtronic
was found in Dr. Durrani’s biography on the website for the Orthopaedic & Spine lnstitute, which
Dr. Durrani currently operates in Pakistan. The biography states that “Dr. Atiq Dr. Durrani has
also received the Clinical Spine Fellowship Grant by the Depart:rnent of Orthopaedic Surgery
which was handed by Medtronic Sofamor Danek with a budget of $59,]70 per year.” See

h ://www.osi.com. k/doctor/dr»ati -Dr. Durrani~rnd/.

   

251. When a request was made to Medtronic regarding its affiliation with Dr. Durrani, the
Medtronic Supplier Relations Team stated that Dr. Durrani’s “name [is] not listed in our system.”
252. Medtronic further responded to the Deters Law Firm’s request that the firm would need a
“Vendor I.D. Nurnber,” which neither Medtronic nor any other party has provided

253. David Rattigan, was Dr. Durrani’s main Medtronic representative from Bahler Medical.
254. David Rattigan and Medtronic have the sarno lawyer. Despite the Deters Law Firm’s
willingness to cooperate in scheduling the date for a deposition, they have refused until recently.
Mr. Rattigan’s deposition was taken June S, 2015.

255. In summary, clients of the Deters Law Finn, with the hill knowledge and intentional
consent of all Defendants, became unsuspecting experiments for real world testing of Medtronic
hardware and BMP-Z, by and through Dr. Durrani and CAST, who had secret financial connections
to Medtronic, improper motives, and submitted false claims The government paid for many of
these improper and unregulated experiments as a result of the false claims made by Dr. Durrani,

With the knowledge of Medtronic, under the veil of “medically necessary” surgeries

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 40 Of 74 PAGE|D #Z 743

256. Despite repeated requests, Medtronic has refused to cooperate in providing any requested
information and is actively doumplaying their connections to Dr. Durrani.

X. THE DEFENDANTS AN[) BMP-§

257. The purpose of the background information on the following Defendants and BMP-2
concerning other hospitals is to show the egregious methods, which upon information and belief
were used at all hospitals

258. The Defendants allowed and encouraged these practices by Dr. Durrani for the sole purpose
of money and greed.

259. David Rattigan was always present in Dr. Durrani’S operating rooms as a representative of

Medtronic.

260. David Rattigan’s sole job was to deliver the BMP-?_/lnfuse to the Hospitals and make sure

that it was inserted correctly into the patient.

261. David Rattigan’s presence in the OR further supports the Defendants awareness of Dr.
Durrani’s fraudulent use of BMP-?./Infuse.
262. lnformed Consent for Surgical or Medical Procedure and Sedation:

lt is the responsibly of the attending physician to obtain informed consent prior to the procedure
The patient, or his/her representative, will be advised by his/her physician of:

a. The explanation of the procedure
b. The benefits of the procedure
c. The potential problems that might occur during recuperatiou

d. The risks and side effects of the procedure which could include but are not limited
to severe blood loss, infection, stroke or death.

v e. The benefits risks and side effect of alternative procedures including the
consequences of declining this procedure or any alternative procedures

f. The likelihood of achieving satisfactory results

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 41 Of 74 PAGE|D #Z 744

Completion of the “Consent to Hospital and Medical Treatrnent” form to examine and treat is NOT
sufficient as consent to perform a surgical procedure, invasive procedure, or for medical regimens
of substantial risk or that are the subject of human investigation or research

263. The Defendants had the responsibility to carry out these consent rules

264. Dr. Durrani oftentimes used BMP-Z “off-labe " when performing surgeries

265. BMP-2 is manufactured marketed, sold and distributed by Defendant Medtronic under
the trade name “lnfuse.”

266. Dr. Durrani is a consultant for Medtronic.

267. Defendants did not inform Plaintiffs of Durrani's financial interest, conflicts of interest or
consulting arrangement with Medtronic.

268. Medtronic, provided in writing to Dr. Durrani the approved uses for BM]E'-Z, the
substance also referred to as lnfuse, which is a bone morphogenic protein, used as an artificial
substitute for bone grafting in spine surgeries

269. BMP-Z is not approved by the Food and Drug Administration for use in the cervical and
thoracic spine.

270. BMP-2 is neither safe nor approved for use on children less than twenty one (2}) years of
age.

271. For use in spinal surgery, Bl\/fP-Z/Infuse is approved by the FDA for a limited procedureJ
performed on a limited area of the spine, using specific components Specifically, the FDA
approved lnfuse for one procedure of the spine: Anterior Lumhar lnterbody Fusion (“AL[F” or
"Anterior" approach); and only in one area of the spine: L4 to Sl; and only when used in

conjunction with FDA-Approved Components: LT-CAGE Lurnbar Tapered Fusion Device

Componenr (“LT-cAon")

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 42 Of 74 PAGE|D #Z 745

272. Use of lnfuse in cervical or thoracic surgery, or use through the back (posterior), or side

(lateral), or on areas of the spine outside of the L4-Sl region (e.g., the cervical spine), or using

components other than or in addition to the LT-CAGE is not approved by the FDA, and thus

such procedures and/or use of non-FDA approved componentry is termed “off-label.”

273. When used off-label, lnfuse frequently causes excessive or uncontrolled (also referred to

as ‘“ectopic” or “exuberant”) bone growth on or around the spinal cord. When nerves are

compressed by such excessive bone growth, a patient can experience, among other adverse

events, intractable pain, paralysis, spasms, and crarnps in limbs.

274. The product packaging for BMP-Z/lniiise indicates it causes an increased risk of cancer

four (4) times greater than other bone graft alternatives

275. Dr. Durrani and Children’s Hospital personnel did not disclose to Plaintiffs their intent to

use BMP-Z/Infuse, and further, did not disclose their intent to use BMP-Q/Infuse in a way not

approved by the FDA.

276. Dr. Durrani used BMP-2 in Plaintiff in a manner not approved by Medtronic or the FDA.

277. Defendants did not inform Plaintift`s that Dr. Durrani used kifuse/BMP-Z in his surgeries.

273. Plaintiffs would not have allowed BMP-2 to be used by Dr. Durrani in his surgery in a
manner that Was not approved by the FDA or Medtronic, InfusefBMP-Z’s manufacturer.

279. Plaintiffs would not have consented to the use of BMP-2 in Plaintiff’s body if informed

of the risks by Dr. Durrani or any Children’s Hospital personnel.

280. The written informed consent of Dr. Durrani signed by Plaintiffs lacked the disclosure of

InfusefBlle-Z’s use in his procedures

281. Plaintiffs never received a verbal disclosure of lnfuse/BMP-Z from Dr. Durrani or any

Children’s Hospital personnel.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 43 Of 74 PAGE|D #Z 746

282. Medtronic speci§cally required Infuse/BMP-2 only be used in "skeletally mature

patients" with degenerative disc disease.

283. Medtronic required at least six (6) months of non-operative treatment prior to use of

Iniiise/BMP~Z._

284. Dr. Durrani regularly used lnfuse/BMP-2 without this six (6) month non-operative

treatment

285. Medtronjc required BMP-2 always be used in conjunction with a metal LT cage.

286. Dr. Durrani regularly used BMP-Z without a proper LT cage in his surgeries.
M_U_SE[B._LVIP_'?

287. Dr. Durrani oftentimes used BMP-2 “off-label” when performing surgeries

288. BMP-2 is manufactured, marketed, sold and distributed by Mednonic under the trade

name “Inihse.”

289. Dr. Durrani is a consultant for Medtronic.

290. Defendants did not inform Plaintiff of Durrani's financial interest, conflicts of interest or

consulting arrangement with Medtronic.

291. Medtronic, provided in writing to Dr. Durrani and Children’s Hospital the approved uses

for BMP-E, the substance also referred to as lnfuse, which is a bone morphogenic protein, used

as an artificial substitute for bone grading in spine surgeries.

292. BMP-?_ is not approved by the Food and Drug Administration for use in the cervical and

thoracic spine.

293. BMP-Z is neither safe nor approved for use on children less than twenty one (21) years of

age.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 44 Of 74 PAGE|D #Z 747

294. For use in spinal surgery, BMP-Z/Infuse is approved by the FDA for a limited procedure,
performed on a limited area of the spine, using specific components SpeciEcally, the FDA
approved lnfuse for one procedure of the spine: Anterior Lumbar lnterbody Fusion (“ALIF’ or
"Anterior" approach); and only in one area of the spine: L4 to Sl; and only when used in
conjunction with FDA-Approved Components: LT»CAGE Lumbar Tapered Fusion Device
Component (“LT-CAGE”)

295. Use of lnfuse in cervical or thoracic surgery, or use through the back (posterior), or side
(lateral), or on areas of the spine outside of the L4-Sl region (e.g., the cervical spine), or using
components other than or in addition to the LT»CAGE is not approved by the FDA, and thus
such procedures and/or use of non-FDA approved componentry is termed “oft`-label.”

296. When used off-label, lnfuse frequently causes excessive or uncontrolled (also referred to
as “ectopic” or “exuberant”) bone growth on or around the Spinal cord. W'hen nerves are
compressed by such excessive bone growth, a patient can experience, among other adverse
events, intractable pain, paralysis, spasms, and cramps in lirnbs.

297. The product packaging for BMP-Z/lnfuse indicates it causes an increased risk of cancer
four (4) times greater than other bone graft alternatives

298. Dr. Durrani and Children’s Hospital personnel did not disclose to Plaintiff their intent to
use BMP-Z/Infuse, and further, did not disclose their intent to use BMP-Z/Int`use in a way not
approved by the FDA.

299. Dr. Durrani used BMP-2 in Plaintiff in manners not approved by Medtronics or the FDA.
300. Plaintiff was not informed by Dr. Durrani or Children’s Hospital that Dr. Durrani used

nnse`/BMP-~z in their surgery

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 45 Of 74 PAGE|D #Z 748

301. Plaintiff Would not have allowed BMP-Z to be used by Dr. Durrani in their surgeries in a

manner that was not approved by the FDA or Medtronic, lnfuse/BMP-Z’s manufactures

302. Plaintiff would not have consented to the use of BMP-2 in their body if informed of the

risks by Dr. Durrani or any Children’s Hospital personnel.

303. The written informed consent of Dr. Durrani and Chi]dren’s Hospital signed by Plaintiff

lacked the disclosure of lnfuse/BMP-Z’s use in their procedure(s).

304. Plaintiff never received a verbal disclosure of lnfuse/BMP-Z ii"om Dr. Durrani or any

Children’S Hospital personnel.

305. Medtronic specifically required [nfuse/BlVLP-Z only be used in "skeletally mature

patients" with degenerative disc disease.

306. Medtronic required at least six (6) months of non-operative treatment prior to use of

lnii.rse/BMP-Z.

307. Dr. Durrani regularly used lnfuse/BMP-Z without this six (6) month non-operative

treatment

308. Medtronic required BMP-2 always be used in conjunction with a metal LT cage.

309. Dr. Durrani regularly used BMP-2 without a proper LT cage in his surgeries
MIM

310. Dr. Durrani oftentimes used BMP-2 “off-label" when performing surgeries

311. BMP-2 is manufactured, marketed, sold and distributed by Defendant Medtronic under

the trade name “lnfuse.“

312. Dr. Durrani is a consultant for Medtronic.

313. Defendants did not inform Plaintiff of Durrani's financial interest, conflicts of interest or

consulting arrangement with Medtronic.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 46 Of 74 PAGE|D #Z 749

314. Medtronic, provided in writing to Dr. Durrani and CAST the approved uses for BMP-Z,
the substance also referred to as lnfuse, which is a bone morphogenic protein, used as an
artificial substitute for bone grading in spine surgeries

315. BMP-Z is not approved by the Food and Drug Administration for use in the cervical and
thoracic spine.

316. BMP-Z is neither safe nor approved for use on children less than twenty one (21) years of
age.

317. For use in spinal surgery, BMP-Z/lnfuse is approved by the FDA for a limited procedure,
performed on a limited area of the spine, using specific components Specifically, the FDA
approved lnfuse for one procedure of the spine: Anterior Lumbar lnterbody Fusion (“ALIF” or
"Anterior" approach); and only in one area of the spine: L4 to Sl; and only when used in
conjunction with FDA-Appr`oved Components: LT~CAGE Lumbar Tapered Fusion Device
Component (“LT-CAGE")

318. Use of lnfuse in cervical or thoracic surgery, or use through the back (posterior), or side
(lateral), or on areas of the spine outside of the L4-Sl region (e.g., the cervical spine), or using
components other than or in addition to the LT-CAGE is not approved by the FDA, and thus
such procedures and/or use of non-FDA approved componentry is termed “off-label.”

319. When used off-label, lnfuse frequently causes excessive or uncontrolled (also referred to
as “ectopic” or “exuberant”) bone growth on or around the spinal cord. When nerves are
compressed by such excessive bone growth, a patient can experience, among other adverse
events, intractable pain, paralysis, spasms, and cramps in limbs.

320. The product packaging for BMP-Z/lnfuse indicates it causes an increased risk of cancer

four (4) times greater than other bone graft alternatives

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 47 Of 74 PAGE|D #Z 750

321. Dr. Durrani, CAST staff and employees, and Deaconess Hospital personnel did not
disclose to Plaintiff their intent to use BMP-E/Infuse, and t`urther, did not disclose their intent to
use BMP-Z/lnfuse in a way not approved by the FDA.

322. Dr. Durrani used BMP-2 in Plaintiff in a manner not approved by Medtronic or the FDA.
323. Plaintiff was not informed by Defendants that Dr. Durrani used lnfuse/BMP-Z in his
surgery.

324. Plaintiff would not have allowed BMP-2 to be used by Dr. Durrani in his surgery in a
manner that was not approved by the FDA or Medtronic, lnfuse/BMP-Z’s manufacturer

325. Plaintiff would not have consented to the use of BMP-?. in his body if informed of the
risks by Dr. Durrani, CAST staff and employees, or any Deaconess Hospital personnel.

326. The Written informed consent of Dr. Durrani and CAST Signed by Plaintiff lacked the
disclosure of lnfuse/BMP-Z’s use in his procedures

327. Plaintiff never received a verbal disclosure of lnfuse/BMP-Z from Dr. Durranj, CAST
staff and employees, or any Deaconess Hospital personnel.

328. Medtronic specifically required lnfuse/BMP»Z only be used in "skclctally mature
patients" with degenerative disc disease.

329. Medtronic required at least six (6) months ofnon-operative treatment prior to use of
Iniiuse/BMP-Z.

330. Dr. Durrani regularly used Int`use/BMP~2 without this six (6) month non-operative
treatrnent.

331. Medtronic required BMP~Z always be used in conjunction with a metal LT cage.

332. Dr. Durrani regularly used BMP-2 without a proper LT cage in his surgerics.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 48 Of 74 PAGE|D #Z 751

PUREGEN
333. Dr. Durrani oftentimes used Puregen when performing surgeries.
334. Puregen is a product produced by Alphatec Spine.
335 . Dr. Durrani was and is a paid consultant for Alphatec Spine.
336. Dr. Durrani has an ownership stake in the Alphatec Spine.
337. Puregen has never been approved by the FDA for any human use.
338. Puregen is now removed from the market for any use.
339. Dr. Durrani used the product Puregen as bone graft substitute similar to lnfuse/BMP-Z
during spinal surgeries
340. Dr. Durrani, CAST staff and employees, and Deaconess Hospital personnel did not
disclose their intent to use Puregen, nor did they inform Plaintiff that it was a product that was
not approved by the FDA for human use.
341. Dr. Durrani used Puregen in Plaintiff in manners not approved by the FDA.
342. Plaintiff was not informed by Dr. Durrani, CAST staff and employees, or any Deaconess
Hospital personnel that Dr. Durrani used Puregen in his surgery
343. Plaintiff would not have allowed Puregen to be used by Dr. Durrani in his surgery in a
manner that was not approved by the FDA.
344. Plaintiff would not have consented to the use of Puregen in his body if informed of the
risks by Dr. Durrani, CAST staff and employees, or any Deaconess Hospital personnel.
345. The written informed consent of Dr. Durrani and CAST signed by Plaintiff lacked the
disclosure of Puregen’s use in his procedures
346. Plaintiff never received a verbal disclosure of Puregen Jnom Dr. Durrani1 CAST staff and

employees, or any Deaconess Hospital personnel.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 49 Of 74 PAGE|D #Z 752

DR. DURRANI COUNTS:

COUNT I: NEGLIGENCE
347. Defendant Dr. Durrani owed his patient, Plaintiff, the duty to exercise the degree of skili,
care, and diligence an ordinarily prudent health care provider would have exercised under like or
similar circumstances
348. Defendant Dr. Durrani breached his duty by failing to exercise the requisite degree of
skill, care and diiigence that an ordinarily prudent health care provider would have exercised
under same or similar circumstances through, among other things, negligent diagnosis, medical
mismanagement and mistreatment of Plaintiff, including but not limited to improper selection for
surgery, improper performance of the surgery, and improper follow-up care addressing a
patient’s concerns
349. As a direct and proximate result of the aforementioned negligence and deviation from the
standard of care on the part of the Defendant Dr. Durrani, Plaintiff sustained all damages
requested in the Prayer for Relief.

COUNT II: BATTERY

350. Dr. Durrani committed battery against Plaintiff by performing a surgery that was
unnecessaryl contraindicated for Plaintiff’s medical condition, and for which he did not properly
obtain informed consent, inter alia, by using BMP-Z, PureGen and/or Baxano in ways and for
surgeries not approved by the FDA and medical community, and by the failure to provide this
information to Plaintiff
351. Plaintiff would not have agreed to the surgeries if they knew the surgeries was/were

unnecessary, not approved by the FDA, and not indicated

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 50 Of 74 PAGE|D #Z 753

352. As a direct and proximate result of the aforementioned battery by Dr. Durrani, Plaintiff
Sustained all damages requested in the Prayer for Relief.
COUN'I` III: LACK OF INFORMED CONSENT

353._ The informed consent forms from Dr. Durrani and CAST which they required Plaintiff to
sign failed to fully cover all the information necessary and required for the procedures and
surgical procedures performed by Dr. Durrani. Dr. Durrani and CAST each required an
informed consent release .
354. In addition, no one verbally informed Plaintiff of the information and risks required for
informed consent at the time of or before PlaintiflF1 s surgery
355. Dr. Durrani failed to inform Plaintiff of material risks and dangers inherent or potentially
involved with his surgeries and procedures
356. Had Plaintiff been appropriately informed of the need or lack of need for surgery and
other procedures and the risks of the procedures Plaintiff would not have undergone the surgery
or procedures
357. As a direct and proximate result of the lack of informed conseng Plaintiff sustained all
damages requested in the Prayer for Relief.

COUNT IV: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
358. Dr. Durrani’s conduct as described above was intentional and reckless
359. lt is outrageous and offends against the generally accepted standards of morality.
360. lt was the proximate and actual cause ofPlajntiff’s psychological injuries, emotional
injuries mental anguish, suffering, and distress
361. Plaintiff suffered severe distress and anguish so serious and of a nature that no reasonable

man or woman would be expected to endure.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 51 Of 74 PAGE|D #Z 754

COUNT V: FRAUD
362. Dr. Durrani made material, false representations to Plaintiff and their insurance company
related to Plaintist treatment including: stating the surgeries were necessary, that Dr. Durrani
“could fix” Plaintiff, that more conservative treatment was unnecessary and futile, that the
surgery would be simple or was “no big deal”, that Plaintiff would be walking normally within
days after each surgery, that the procedures were medically necessary and accurately reported on
the billing to the insurance company, that the Surgery was successful, and that Plaintiff was
medically stable and ready to be discharged
363. Dr. Durrani also concealed the potential use of lnfuse/BMP-Z and/or Puregen in
Plaintist surgery, as well as other information, when he had a duty to disclose to Plaintiff his
planned use of the same.
364. These misrepresentations and/or concealments were material to Plaintiff because they
directly induced Plaintiff to undergo his surgery.
365. Dr. Durrani knew or should have known such representations were false, and/or made the
misrepresentations with utter disregard and recklessness as to their truth that knowledge of their
falsity may be inferred
366. Dr. Durrani made the misrepresentations before, during and aiier the surgeries with the
intent of misleading Plaintiff and their insurance company into relying upon them. Specifically,
the misrepresentations were made to induce payment by the insurance company, without which
Dr. Durrani would not have performed the surgeries, and to induce Plaintiff to` undergo the
surgeries without regard to medical necessity and only for the purpose of receiving payment
367. The misrepresentations and/or concealments were made during Plaintiffs office visits at

Dr. Durrani’s CAST offices

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 52 Of 74 PAGE|D #Z 755

368. Plaintiff was justiiied in their reliance on the misrepresentations because a patient has a
right to trust their doctor and that the facility is overseeing the doctor to ensure the patients of
that doctor can trust the facility.
369. As a direct and proximate result of the aforementioned fraud, Plaintiff did undergo
surgeries which were paid for in whole or in part by their insurance company, and suffered all
damages as requested in the Prayer for Relief.
COUNT VI: SPOLIATION OF EVIDENCE
370. Dr. Durrani willfully altered, destroyed, delayed, hid, modified and/or spoiled (“spoiled")
Plaintiff’s records, emails, billing records, paperwork and related evidence
371. Dr. Durrani spoiled evidence with knowledge that there was pending or probable
litigation involving Plaintiff
372. Dr. Durrani’s conduct was designed to disrupt Plaintiff's potential and/or actual case, and
did in fact and proximately cause disruption, damages and harm to Plaintiff
CAST COUNTS:
COUNT I: VICAR_IOUS LIABILITY
3?3. At all times relevant, Defendant Dr. Durrani was an agent, and/or employee of CAST.
374. Dr. Durrani is in fact, the owner of CAST.
375. Defendant Dr. Durrani was performing within the scope of his employment with CAST
during the care and treatment of Plaintiff
376. Defendant CAST is responsible for harm caused by acts of its employees for conduct that
was within the scope of employment under the theory of respondeat superior.
377. Defendant CAST is vicariously liable for the acts of Defendant Dr. Durrani alleged in

this Complaint including all of the counts asserted against Dr. Durrani directly.

CaSe: 1216-CV-OOlGl-TSB DOC #Z 4 Filed: 01/15/16 Page: 53 Of 74 PAGE|D #Z 756

378. As a direct and proximate result of Defendant CAST’s acts and omissions, Plaintiff
sustained all damages requested in the Prayer for Relief.

COUNT II: NEGLIGENT HlRING, RETENTION, AND SUPERVISION
379. CAST provided Dr. Durraru`, inter alia, iinancial support, control, medical facilities,
billing and insurance payment support, staff supportJ medicines, and tangible items for use on
patients
380. CAST and Dr, Durrani participated in experiments using BMP-Z and/or Puregen bone
graft on patients, including Plaintiff, without obtaining proper informed consent thereby causing
harm to Plaintiffl
381. CAST breached its duty to Plaintiff, inter alia, by not supervising or controlling the
actions of Dr. Durrani and the doctors, nurses, staff, and those with privileges, during the
medical treatment of Plaintiff at CAST.
382. The Safe Medical Deviee Act required entities such as CAST to report serious injuries,
Serious illnesses, and deaths related to failed medical devices to the FDA and the manufacturer;
this was never done.
383. Such disregard for and violations of federal law represents strong evidence that CAST
negligently hired, retained, and supervised Dr. Durrani.
384. As a direct and proximate result of the acts and omissions herein described, including but
not limited to failure to properly supervise medical treatment by Dr. Durrani, Plaintiff sustained
all damages requested in the Prayer for Relief.

COUNT III: FRAUD

385. CAST sent out billing to Plaintiff’s insurance company after the surgeries at Children’s

Hospital, and WCH.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 54 Of 74 PAGE|D #Z 757

386. 'l`he exact dates these medical bills were sent out are reflected in those medical bills.
387. These bills constituted affirmative representations by CAST that the charges related to
Plaintift’s surgeries were medically appropriate and properly documented

383. The bills were sent with the knowledge of CAST that in fact Plaintiff’s surgeries were not
appropriately billed and documented and that the services rendered at Children’s Hospital, and
West Chester Hospital associated with Dr. Durrani were not appropriate

389. The bills sent by CAST to Plaintiff falsely represented that Plaintiff’s surgeries were
appropriately indicated, performed and medically necessary in contra-indication of the standard
of care.

390. Plaintiff relied on the facility holding Dr. Durrani out as a surgeon and allowing him to
perform surgeries at its health care facility as assurance the facility was overseeing Dr. Durrani,
vouching for his surgical abilities, and further was appropriately billing Plaintiff for CAST’s
services in association with Dr. Durrani’s surgery.

391. As a direct and proximate result of this reliance on the billing of CAST, Plaintiff incurred
medical bills that she otherwise would not have incurred.

392. CAST also either concealed from Plaintiff that they knew about Dr. Durrani, including
that lnfuse/BMP-Z and/or Puregen would be used in Plainans surgeries, or misrepresented to
Plaintiff the nature of the surgeries, and the particular risks that were involved therein.

393. CAST’s concealments and misrepresentations regarding lnfuse/BMP-Z and/or Puregen
and the nature and risks of Plaintiff’s surgeries were material facts.

394. Because of its superior position and professional role as a medical service provider,
CAST had a duty to disclose these material facts to Plaintiff and a duty to reh'ain from

misrepresenting such material facts to Plaintiff

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 55 Of 74 PAGE|D #Z 758

395. CAST intentionally concealed and/or misrepresented said material facts with the intent to
defraud Plaintiff in order to induce Plaintiff to undergo the surgeries, and thereby profited from
the surgeries and procedures Dr. Durrani performed on Plaintiff at Children’s Hospital, and
WCH.
396. Plaintiff was unaware that BMP-Q and/or Puregen would be used in Plaintiffs surgeries
and therefore, was unaware of the health risks of Inii)se/BMP-Z and/or Puregen’s use in
Plaintiffs spine
397. Plaintiff is still awaiting itemized billing from CAST reflecting the exact totals charged
for the use of lnfuse-BMP-2 on Plaintiff
398. Had Plaintiff known before Plaintiff’s surgeries that lniilse/BMP-Z and/or Puregen would
be used in Plaintift’s spine and informed of the speciiic, harmful risks flowing therefrom,
Plaintiff would not have undergone the surgery with Dr. Durrani at Children’s Hospital, and
West Chester Hospital.
399. Upon infon'nation and belief, Plaintiff believes the bills requested by Plaintiff will
indicate that CAST falsely represented that Plaintiff’s surgery was appropriately indicated,
performed, and medically necessary in contra-indication of the standard of care.
400- Plaintiff is still awaiting billing from CAST reflecting the exact totals charged for the use
ofBMP-z on manner '
401. As a direct and proximate result of the fraud against plaintiff by CAST, Plaintiff
sustained all damages requested in the prayer for relief

COUNT IV: OHIO CONSUMER SALES PROTECTION ACT
402. Although the Ohio Consumer Sales Protection statutes O.R.C 1345 .01 et seq. exempts

physicians, a transaction between a hospital and a patient/consumer is not clearly exempted

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 56 Of 74 PAGE|D #Z 759

403. CAST’s services rendered to Plaintiff constitute a “consumer transaction” as defined in
ORC Section l345.0l(A).

404. CAST omitted suppressed and concealed from Plaintiffs facts with the intent that
Plaintiffs rely on these omissionsJ suppressions and concealments as set forth herein.

_405. CAST's misrepresentations, and its omissions, suppressions and concealments of fact, as
described above, constituted unfair, deceptive and unconscionable acts and practices in violation
of O.R.C 1345.02 and 1345.03 and to Substantive Rules and case law.

406. CAST was fully aware of its actions

407. CAST was fully aware that Plaintiffs were induced by and relied upon CAST’s
representations at the time CAST was engaged by Plaintiffs.

408. Had Plaintiffs been aware that CAST’s representations as set forth above were untrue,
Plaintiffs would not have used the services of Defendants

409. CAST, through its agency and employees knowingly committed the unfair, deceptive
and/or unconscionable acts and practices described above.

41 O. CAST’s actions were not the result of any bona tide errors.

411. As a result of CAST’s unfair, deceptive and unconscionable acts and practices, Plaintiffs
have suffered and continues to suffer damages, which include, but are not limited to the
following:

a. Loss of money paid

b. Severe aggravation and inconveniences

c. Under O.R.C. 1345.0] Plaintiffs are entitled to:

i. An order requiring that CAST restore to Plaintiffs all money received from
Plaintiffs plus three times actual damages and/or actualfstatutory damages
for each violation;

ii. All incidental and consequential damages incurred by Plaintiffs;

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 57 Of 74 PAGE|D #Z 760

iii. A_ll reasonable attorneys’ fees, witness fees, court costs and other fees

incurred;

WEST CHESTER HOSPITAL[UC HEALTH COUNTS:
COUNT I: NEGLIGENCE

412.Plajntiffs incorporate each and every factual allegation pled in all the prior paragraphs
413.West Chester Hospital/UC Health owed their patient, Plaintift`, through its agents and
employees the duty to exercise the degree of skill, care, and diligence an ordinarily prudent
health care provider would have exercised under like or similar circumstances
414.West Chester Hospital/UC Health acting throuin its agents and employees breached their
duty by failing to exercise the requisite degree of skill, care and diligence that an ordinarily
prudent health care provider would have exercised under same or similar circumstances through,
among other things, negligent diagnosis, medical mismanagement and mistreatment of Plaintiff,
including but not limited to improper selection for surgery, improper performance of the surgery,
improper assistance during Plaintift‘s surgeries and improper follow up care addressing a
patient’s concerns
415.The agents and employees who deviated from the standard of care include nurses, physician
assistants residents and other hospital personnel who participated in Plaintifi"s surgeries
416.'1'he management, employees nurses, technicians agents and all staff during the scope ot`
their employment and!or agency of West Chester Hospital/UC Health‘s knowledge and approval,
either knew or should have known the surgery was not medically necessary based upon Dr.
Durrani’s known practices; the pre-op radiology; the pre~op evaluation and assessment; and the
violation of their responsibility under the bylaws, rules, regulations and policies ot` West Chester
Hospital/UC Health.

417.As a direct and proximate result of the aforementioned negligence and deviation ii’om the

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 58 Of 74 PAGE|D #Z 761

standard of care by the agents and employees of West Chester Hospital/UC Health, Plaintiff

Sustained all damages requested in the Prayer for Relief.

COUNT II: NEGLIGENT CREDENTIAL]_NG, SUPERVISION, AND RETENTION
418.Plaintiffs incorporate each and every factual allegation pled in all the prior paragraphs
419.By R..C. 2305.251(B) regarding the negligent credentia]ing of physicians Therein, it is
provided:

a.(l) A Hospital shall be presumed to not be negligent in the credentialing of an individual who
has, or has applied for, staff membership or professional privileges at the hospital pursuant to
section 3701.351 ofthe revised code. .. if the hospital. . . proves by a preponderance of the evidence
that, at the time of the alleged negligent credentialing of the individual, the hospital... Was
accredited by one ofthe following;
i.The joint commission accreditation of healthcare organization;
ii.The Arnerican Osteopathic association;
iii.The national committee for quality assurance;
iv.The utilization review accreditation commission
b. R.C. 2305.251(]3)(1)
However, pursuant to R.C. 2305.251, Plaintiff may rebut this presumption against negligence by
showing, by a preponderance of the evidence, any of the following:

i. The credentialing and review requirements of the accrediting organization did
not apply to the hospital. . ..the individual, or the type of professional care that is
the basis ofthe claim against the hospital..

ii. The hospital failed to comply with all material credentialing and review
requirements of the accrediting organization that applied to the individual
iii. Tlie hospital through its medical staff executive committee or its governing body

and sufficiently in advance to take appropriate action, l<:new that a previously

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 59 Of 74 PAGE|D #Z 762

competent individual had developed a pattern incompetence or otherwise
inappropriate behavior, either of which indicated that the individual’s staff
membership, professional privileges or participation as a provider should have
been limited or terminated prior to the individual’s provision of professional care
to the Plaintit`t`.

iv. The hospital through its medical staff executive committee or its governing body
and sufficiently in advance to take appropriate action, knew that a previously
competent individual would provide fraudulent medical treatment but failed
to limit or terminate the individual’s staff membership, professional privileges
or participation as a provider prior to the individual ’s provision of professional
care to the plaintiffv

420. Defendants negligently credentialed, supervised, and retained Dr. Durrani as a
credentialed physician, violating their bylaws and JCAHO rules as fully set forth in this
Complaint

421. The Sat`e Medical Device Act required entities such as West Chester Hospital/UC Health
to report serious injuriesJ serious illnesses, and deaths related to failed medical devices to the
FDA and the manufacturer; this was never done.
422. As a direct and proximate result of the negligent credentialing, supervision, and retention
of Dr. Durrani, Plaintiffs sustained all damages requested in the prayer for relief

COUNT ll]: FRAUD
423. Plaintiffs incorporates each and every factual allegation pled in all prior paragraphs
424. Upon information and belief, Plaintiff believes the bills requested by Plaintiff will
indicate that WCH falsely represented that Plaintist surgery was appropriately indicated,

performed, and medically necessary in contra-indication of the standard of care.

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 60 Of 74 PAGE|D #Z 763

425. Defendants concealed from Plaintiffs facts they knew about Dr. Durrani and made
misrepresentations to Plaintiffs as detailed in this Complaint as fully detailed in the paragraphs of
this Complaint

426. Defendant’s concealments and misrepresentations were material facts

427. Defendants had a duty to disclose these material facts to Plaintiffs and a duty to refrain
from misrepresenting such material facts to Plaintiffs.

428. Defendants intentionally concealed and/or misrepresented material facts with the intent to
defraud Plaintiffs in order to induce Plaintiffs to undergo the surgery or cause them not to decide
to cancel surgery, and thereby profited from the surgeries and procedures Dr. Durrani performed
on Plaintiffs at West Chester Hospital/UC Health.

429. West Chester HospitalfUC Health eitlierfconcealed ii'om Plaintiff facts they knew about
Dr. Durrani, including that West Chester HospitalfUC Health’s concealments and
misrepresentations regarding the nature and risks of Plaintift"s surgeries were material facts
430. Because of its superior position and professional role as a medical service provider, West
Chester Hospital/UC Health had a duty to disclose these material facts to Plaintiff and a duty to
refrain from misrepresenting such material facts to Plaintift`.

431. West Chester Hospital/UC Health intentionally concealed and/or misrepresented said
material facts with the intent to defraud Plaintiff i_n order to induce Plaintiff to undergo the
surgery, and thereby profited horn the surgeries and procedures Dr. Durrani performed on
Plaintiff at West Chester HospitalfUC Health.

432. According to Dr. Peter Stem, he knew Dr. Durrani was only “satisfactory“ and not a

world class surgeon as West Chester advertised

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15716 Page: 61 Of 74 PAGE|D #Z 764

433. According to Jill Stegman, the risk manager at West Chester, she and others knew Dr.
Durrani had “issues".
434. According to former nursing manager, Elaine Kunko, West Chester Hospital knew about
Dr. Durrani not completing records and claiming surgeries were emergencies when they were _
not.
435. Had Plaintiffs known before Plaintiffs’ surgeries that lnfuse/BMP-Z or PureGen would be
used in Plaintiffs’ spine and informed of the specific, harmful risks flowing therefrom, Plaintiffs
would not have undergone the surgeries with Dr. Durrani at West Chester Hospital/UC Health.
436. As a direct and proximate result of the fraud upon Plaintiffs by Defendants Plaintiffs
sustained all damages requested in the prayer for relief

COUNT V: OHIO CONSUMER SALES PROTECTION ACT
437. Although the Ohio Consumer Sales Protection statutes O.R.C 1345.01 et seq. exempts
physicians a transaction between a hospital and a patient/consumer is not clearly exempted
433. West Chester HospitalfUC Health’s services rendered to Plaintiff constitute a “consumer
transaction” as defined in ORC Section 1345.0] (A).
439. West Chester Hospital/UC Health omitted suppressed and concealed from Plaintiffs facts
with the intent that Plaintift`s rely on these omissions suppressions and concealments as set forth
herein.
440. West Chester HospitalfUC Health’s misrepresentations and its omissions suppressions
and concealments of fact, as described above, constituted unfair, deceptive and unconscionable
acts and practices in violation of O.R.C 1345.02 and 1345,03 and to Substantive Rules and case
law.

441. West Chester HospitalfUC Health was fully aware of its actions

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 62 Of 74 PAGE|D #Z 765

442. West Chester HospitalfUC Health was fully aware that Plaintiffs were induced by and
relied upon West Chester Hospital/UC Health’s representations at the time West Chester
Hospital/UC Health was engaged by Plaintiffs.

443. `Had P]aintiffs been aware that West Chester Hospital/UC Health’s representations as set
forth above were untrue, Plaintiffs would not have used the services of the Defendants

444. West Chester Hospital/UC Health, through its agency and employees knowingly
committed the unfair, deceptive and/or unconscionable acts and practices described above.
445. West Chester Hospital/UC Health‘s actions were not the result of any bona tide errors.
446. As a result of West Chester Hospital/UC Health’s unfair, deceptive and unconscionable
acts and practices, Plaintiffs have suffered and continues to suffer damages, which include, but
are not limited to the following:

a. Loss of money paid
b. Severe aggravation and inconveniences
c. Under O_R.C. 1345.01 Plaintiffs are entitled to:

i. An order requiring West Chester Hospital/UC Health restore to Plaintiffs all
money received from Plaintil"t`s plus three times actual damages and/or
actual/statutory damages for each violation;

ii. All incidental and consequential damages incurred by Plaintiffs;
iii_ All reasonable attorneys’ fees, witness fees, court costs and other fees incurred;

COUN'I` VI: PRODUCTS LIABILITY

447. At all times lnfuse/BMP-Q and Puregen are and were products as defined in R-C. §

2307.71(A)(l.’2) and applicable law.

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 63 Of 74 PAGE|D #Z 766

448. West Chester HospitalfUC Health (aka supplier) supplied either Medtronic’s (aka
manufactured Iniiise/BMP-Z or Alphatec Spine’s (aka manufactured Puregen for surgery
performed by Dr. Durrani on Plaintiff

449. West Chester Hospital/UC Health, as a suppiier, failed to maintain either InfusefBMP-Z
or Puregen properly.

450. West Chester Hospital/UC Health did not adequately supply all components required to
use either lnfuse/BMP-Q or Puregen properly.

45]. West Chester Hospital/UC Health knew or should have known the FDA requirements and
Medtronic's requirements for using either lnfuse/BMP-Z or Puregen.

452. West Chester Hospital/UC Health stored either lnfuse/BMP-Z or Puregen at its facility.
453. West Chester Hospital/UC Health ordered either Infuse/BMP-'Z or Puregen for surgery
performed by Durrani.

454. West Chester Hospital/UC Health did not adequately warn Plaintiff that either
lnfuse/BMP-Z or Puregen would be used without all FDA and manufacturer required
components

455. West Chester Hospital/UC Health did not gain informed consent from Plaintiff for the
use of either lnfuse/BMP-2 or Puregen, let alone warn of the supplying of the product without
FDA and manufacturer requirements

456. West Chester Hospital/UC Health failed to supply either lnfuse/BMP-Q or Puregen (aka
product) in the manner in which it was represented

457. West Chester Hospital/UC Health failed to provide any warning or instruction in regard
to either lnfuse/BMP-Z or Puregen, and failed to make sure any other party gave such warning or

instruction

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 64 Of 74 PAGE|D #Z 767

458. West Chester Hospital/UC Health intentionally billed lnfirse/BMP-Q and/or Puregen as
“Miscellaneous" to prevent discovery of the use of lnfuse/BMP-Z and/or Puregen by Plaintiffs.
459. Plaintiff suffered physical, financial, and emotional harm due to West Chester
Hospital/UC Health's violation of the Ohio Products Liability act. Plaintiff s injuries were a
foreseeable risk

460. Plaintiff did not alter, modify or change the product, nor did Plaintiff know that the
product was being implanted without all required components

461 . West Chester Hospital/UC Health knew or should have known that the product was
extremely dangerous and should have exercised care to provide a warning that the product was
being used and that the product was being used outside FDA and manufacturer requirements
The harm caused to Plaintiff by not providing an adequate warning was foreseeable,

462. West Chester Hospital/UC Health knew that the product did not conform to the
representation of the intended use by the manufacturer yet permitted the product to be implanted
into Plaintiff.

463. West Chester Hospital/UC Health, as a supplier, acted in an unconscionable manner in
failing to supply the product without all FDA and manufacturer required components

464. West Chester Hospital/UC Health, as a supplier, acted in an unconscionable manner in
failing to warn Plaintiff that the product was being supplied without all FDA and manufacturer
required components

465. West Chester Hospital/UC Health's actions demonstrate they took advantage of the
Plaintiffs inability, due to ignorance of the product, to understand the product being implanted

without FDA and manufacturer required components

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 65 Of 74 PAGE|D #Z 768

466. West Chester Hospital/UC Health substantially benefited financially by the use of the
product as the product allowed for West Chester Hospital/UC Health to charge more for the
surgery

461 Plaintiff suffered economic loss as defined in R.C. § 2303.7](A)(2) and applicable law.

468~ Plaintiff suffered mental and physical harm due to West Chester Hospital/UC Health's

acts and omissions
469. Plaintiff suffered emotional distress due to acts and omissions ofWest Chester
Hospital/UC Health and is entitled to recovery as defined in R.C. § 2307.71(A)(7) and applicable
law.
470_ West Chester HospitalfUC Health violated the Ohio Products Liability Act R.C. §
2307.71-2307.80
471. West Chester Hospital/UC Health violated R.C. § 2307.71(A)(6)
472. West Chester Hospital/UC Health violated The Ohio Consumer Sales Practices Act R.C.
§ 1345.02-.03.
473, West Chester Hospital/UC Health provided inadequate warnings are delined in R.C, §
2307.76(A) and applicable law.

CHILDREN’S HOSPITAL COUNTS:

COUNT I: VICARIOUS LlABILITY
474, At all times relevant, Defendant Dr. Durrani was an agent., apparent agent, and/or
employee of Children’s Hospital.
475. Dr. Durrani is in fact, a partial owner or shareholder of Children’s Hospital
476. Defendant Dr. Durrani was performing within the scope of his agency, real or apparent

with Children‘s Hospital during the care and treatment of Plaintiff

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 66 Of 74 PAGE|D #Z 769

477. Defendant Children’s Hospital is responsible for harm caused by acts of its agents and
apparent agents for conduct that was within the scope of agency under the theory of respondeat
superior.
478. Defendant Children’s Hospital is vicariously liable for the acts of Defendant Dr. Durrani
alleged in this Complaint including all of the counts asserted against Dr. Durrani directly.
479. As a direct and proximate result of Defendant Children’s Hospital’s acts and omissions
Plaintiff sustained severe and grievous injuries prolonged pain and suffering emotional distress,
humiliation, discomfortl loss of enjoyment of life, and loss of ability to perform usual and
customary activities and incurred substantial medical expenses and treatment
COUNT II: NEGLIGENT CREDENTIALING & RETENTION
480. As described in the Counts asserted directly against Dr. Durrani, the actions of Dr,
Durrani with respect to Plaintiff constitute physician negligence and medical malpractice
48]. Children’s Hospital negligently credentialed and retained Dr. Durrani as a credentialed
physician by:
a. Allowing Dr. Durrani to repeatedly violate the Children’s Hospital bylaws with its hill
knowledge of the same;
b. Failing to adequately review, look into, and otherwise investigate Dr. Durrani’s
educational background, work history and peer reviews when he applied for privileges at
Children’s Hospital;
c. Ignoring complaints about Dr. Durrani’s treatment of patients reported to it by Children’s
Hospital staff, Dr. Durrani’s patients and by others;
d. Ignoring Dr. Durrani’s previous privilege temiinations horn other Cincinnati area
hospitals including Children’s Hospital, Deaconess Hospital, Good Sarnaritan Hospital,

Christ Hospital and West Chester Hospital.

CaSe: 1216-CV-OOl6l-TSB DOC #Z 4 Filed: 01/15/16 Page: 67 Of 74 PAGE|D #Z 77O

482. The Safe Medical Device Act required entities such as Children’s Hospital to report

serious injuries, serious illnesses, and deaths related to failed medical devices to the PDA and the

manufacturer; this was never done.

483. Such disregard for and violations of federal law represents strong evidence that

Children’s Hospital negligently granted and retained privileges for Dr. Durrani.

484. As a direct and proximate result of the negligent credentialing and retention of Dr.

Durrani, Plaintiff Sustained severe and grievous injuries, prolonged pain and suffering, emotional

distress, humiliation, discomfort, loss of enjoyment of life, and loss of ability to perform usual

and customary activities and incurred substantial medical expenses and treatment that Plaintiff

would not otherwise have incurred had Dr. Durrani not been credentialed by Children’s Hospital.
COUNT III: FRAUD

485. Upon information and belief, Plaintiff believes the bills requested by Plaintiff will

indicate that Children’s Hospital falsely represented that Plaintist surgery was appropriately

indicated, performed, and medically necessary in contra-indication of the standard of care.

486. The bills were sent to Plaintiff’ s insurance with the knowledge of Children’s Hospital

that in fact Plaintiff’S surgeries were not appropriately billed and documented and that the

services rendered at Children’s Hospital associated with Dr. Durrani were not appropriate

487. The bills sent by Children’s Hospital to Plaintiff falsely represented that Plaintiff"s

surgeries were appropriately indicated, performed, and medically necessary in contra-indication

of the standard of care.

488. Defendant intentionally billed Infuse/BMP-Z and/or Puregen as “Miscellaneous” to

prevent discovery of the use of lnfuse/BMP-2 and/or Puregen by Plaintiff.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 68 Of 74 PAGE|D #Z 771

489. Plaintiff relied on the facility holding Dr. Durrani out as a surgeon and allowing him to
perform surgeries at its health care facility as assurance the facility was overseeing Dr. Durrani,
vouching for his surgical abilities, and further was appropriately billing Plaintiff for Children’s
Hospitalis services in association with Dr. Durrani’s surgeries.

490. As a direct and proximate result of this reliance on the billing of Children’s Hospital,
Plaintiff incurred medical bills that he otherwise would not have incurred.

491. Children’s Hospital also either concealed from Plaintiff facts they knew about Dr.
Durrani, including that Infuse/BMP~Z or Puregen Would be used in Plaintist surgery, or
misrepresented to Plaintiff the nature of the surgery, and the particular risks that were involved
therein.

492. Children’s Hospital’s concealments and misrepresentations regarding lnfuse/BMP-Z or
Puregen and the nature and risks of Plaintiff"s Surgeries were material facts.

493. Because of its superior position and professional role as a medical service provider,
Children’s Hospital had a duty to disclose these material facts to Plaintiff and a duty to refrain
from misrepresenting such material facts to Plaintiff

494. Children’s Hospital intentionally concealed and/or misrepresented said material facts
with the intent to defraud Plaintiff in order to induce Plaintiff to undergo the surgeryJ and thereby
profited from the surgeries and procedures Dr. Durrani performed on Plaintiff at Children’s
Hospital.

495. Plaintiff was unaware that lnfllsefBW-2 or Puregen would be used in Plaintiff’ s

surgeries and therefore, was unaware of the health risks of lnfuse/BMP-Z or Puregen’s use in

Plaintift’s surgeryl

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 69 Of 74 PAGE|D #Z 772

496. Had Plaintiff known before Plaintiff’s surgeries that lnfuse/BMP-2 or Puregen would be
used in Plaintift”s surgery and informed of the specific, harmful risks flowing there&om,
Plaintiff would not have undergone the surgeries with Dr. Durrani at Children’s Hospital.
497. Plaintiff is still awaiting itemized billing from Children’s Hospital reflecting the exact
totals charged for the use of BMP~2 On Plaintiff
498. As a direct and proximate result of the fraud upon Plaintiff by Children’s Hospital,
Plaintiff sustained all damages requested in the prayer for relief.
COUNT IV: SPOLIATION OF EVIDENCE

499. Children’s Hospital through its agents and employees, willfully altered, destroyed,
delayed, hid, modified and/or spoiled (“spoiled”) Plaintiff’s records, billing records, paperwork
and related evidence.
500. Children’s Hospital through its agents and employees, spoiled evidence with knowledge
that there was pending or probable litigation involving Plaintiff
501. Children’s Hospital’s conduct was designed to disrupt Plaintiff‘s potential and/or actual
case, and did in fact and proximately cause disruption, damages and harm to Plaintiff

COUNT V: OHIO CONSUMER SALES PRACTICES ACT
502. Alt.hough the Ohio Consurner Sales Practices statutes O.R.C 1345.01 et seq. exempts
physicians, a transaction between a hospital and a patient/consumer is not clearly exempted
503. Children’s Hospital’s services rendered to Plaintiff constitute a “consumer transaction” as
defined in ORC Section 1345.01(A).
504. Children’s Hospital omitted suppressed and concealed from Plaintiffs facts with the

intent that Plaintiffs rely on these omissions, suppressions and concealments as set forth herein.

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 70 Of 74 PAGE|D #Z 773

505. Children’s Hospital’s misrepresentations7 and its ornissions, suppressions and
concealments of fact, as described above, constituted unfair, deceptive and unconscionable acts
and practices in violation of O.R.C 1345.02 and 1345.03 and to Substantive Rules and case law.
506. Children’s Hospital was fully aware of its actions _

507. Children’s Hospital was fully aware that Plaintiffs were induced by and relied upon
Children’s Hospital’s representations at the time Children’s Hospital was engaged by Plaintiffs.
508. Had Plaintiffs been aware that Children’s Hospital’s representations as set forth above
were untrue, Plaintiffs would not have used the services of Defendantsl

509. Children’s Hospital, through its agency and employees knowingly committed the unfair,
deceptive and/or unconscionable acts and practices described above.

5l0. Children’s Hospital’s actions were not the result of any bona fide errors.

Sl l. As a result of Children’s Hospital’s unfair, deceptive and unconscionable acts and
practices, Plaintiffs have suffered and continues to suffer damages, which include, but are not
limited to the following:

d. Loss of money paid
e. Severe aggravation and inconveniences
f. Under O.R.C. 1345.01 Plaintiffs are entitled to:

iv. An order requiring Children’s Hospital restore to Plaintift`s all money received
from Plaintiffs plus three times actual damages and/or actual/statutory damages
for each violation;

v. All incidental and consequential damages incurred by Plaintiffs;

vi. All reasonable attomeys’ fees, witness fees, court costs and other fees incurred;

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 71 Of 74 PAGE|D #Z 774

COUNT VI: PROI)UCTS LIABILITY
5]2. At all times lnfuse/BMP-Z and Puregen are and were products as denned in R.C. §
2307.7l(A)(l2) and applicable law.
513. Children’s Hospital (aka supplier) supplied either Medtronic’s (aka manufacturer)
Infuse/`BMP-Z or Alphatec Spine’s (aka manufactured Puregen for surgery performed by Dr.
Durrani on Plaintiff
514. Children’s Hospital, as a supplier, failed to maintain either lnfuse/BMP-Z or Puregen
properly.
515. Children’s Hospital did not adequately supply all components required to use either
lnthse/BMP-Q or Puregen properly.
516. Children’s Hospital knew or should have known the FDA requirements and Medtronic's
requirements for using either Infuse/BM'P-Z or Puregcn.
517_ Children’s Hospital stored either Infuse/BM_P-Z or Puregen at its facility.
518. Children’s Hospital ordered either Infuse/BMP~Q or Puregen for surgery performed by
Durrani.
519. Children’s Hospital did not adequately warn Plaintiff that either lnfuse/BMP-Q or
Puregen would be used without all FDA and manufacturer required components
520. Children’s Hospital did not gain informed consent from Plaintiff for the use of either
lnftlsefBMP-Z or Puregen, let alone warn of the supplying of the product without FDA and
manufacturer requirements
521 , Children’s Hospital failed to supply either lnfuse/BMP-Q cr Puregen (al<a product) in the

marmer in which it was represented

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 72 Of 74 PAGE|D #Z 775

522. Children’s Hospital failed to provide any warning or instruction in regard to either
Infuse/BM_P-Q or Puregen, and failed to make sure any other party gave such warning or
instruction

523. Plaintiff suffered physical, financial, and emotional harm due to Children’s Hospital's
violation of the Ohio Products liability act. Plaintiff's injuries were a foreseeable risk

524. Plaintiff did not alter, modify or change the product, nor did Plaintiff know that the
product was being implanted without all required components

525. Children’s Hospital knew or should have known that the product was extremely
dangerous and should have exercised care to provide a warning that the product was being used
and that the product was being used outside FDA and manufacturer requirements The harm
caused to Plaintiff by not providing an adequate warning was foreseeable,

526. Children’s Hospital knew that the product did not conform to the representation of the
intended use by the manufacturer yet permitted the product to be implanted into Plaintiff.

52?. Children’s Hospital, as a supplier, acted in an unconscionable manner in failing to supply
the product without all FDA and manufacturer required components n

528. Children’s Hospital, as a supplier, acted in an unconscionable manner in failing to warn
Plaintiff that the product was being supplied without all FDA and manufacturer required
components

529. Children’s Hospital intentionally billed lnfuse/BMP-.'Z andfor Puregen as “Miscellaneous”
to prevent discovery of the use of lnliise/Bl\t[P-Z and/or Puregen by Plaintiff

530. Children’s Hospital's actions demonstrate they took advantage of the Piaintiffs inability,
due to ignorance of the product, to understand the product being implanted without FDA and

manufacturer required components

CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 73 Of 74 PAGE|D #Z 776

531. Children’s Hospital substantially benefited financially by the use of the product as the
product allowed for Children’s Hospital to charge more for the surgery.
532. Plaintiff suffered economic loss as defined in R.C. § 2303.71(A)(2) and applicable law.
533. Plaintiff suffered mental and physical harm due to Children’s Hospital's acts and
omissions
534. Plaintiff suffered emotional distress due to acts and omissions of Children’s Hospital and
is entitled to recovery as defined in R.C. § 2307.71(A)(7) and applicable law.
535. Children’s Hospital violated the Ohio Products Liability Act R.C. § 2307.71-2307.80
536. Children’s Hospital violated R.C. § 2307.7] (A)(G)
537. Children’s Hospital violated The Ohio Consurner Sales Practices Act R.C. § 1345.02-.03.
53 8. Children’s Hospital provided inadequate warnings are defined in R,C, § 2307.76(A) and
applicable law.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests and seeks justice in the form and procedure of a jury, verdict
and judgment against Defendants on all claims for the following damages
. Past medical bills;
. Future medical bills;
. Lost income and benetits;
. Lost future income and benefits;
. Loss of ability to earn income;
. Past pain and suffering;

_ Future pain and suffering;

. Plaintiff seeks a finding that their injuries are catastrophic under Ohio Rev. Code §2315.] 8;

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CaSe: 1216-CV-OOJ_61-TSB DOC #Z 4 Filed: 01/15/16 Page: 74 Of 74 PAGE|D #Z 777

Plaintiff seeks all relief available under the Ohio Products Liability Act R.C. § 2307.71-2307.80

and applicable law;

All incidental costs and expenses incurred as a result of their injuries;

The damages to their credit as a result of their injuries;

Punitive damages;

Costs;

Attorneys’ fees;

lnterest;

All property loss;

All other reliefto which they are entitled including O.R.C. 1345.01

Based upon 1-18 itemization of damages the damages sought exceed the minimum jurisdictional
amount of this Court and Plaintiff seeks in excess of $25,000.

Respectfully Submitted,

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Marrhsw Hmmna"(oosz¢rss)
Lindsay Boese (0091307)
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MMNI_;
Plaintiffs make a demand for a jury under all claims

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